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                                       \h fi
                                                        c^c[          v.^-(     ^t-
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         t)L   ,     Lc   rr-4       -(-       ;l:!t{-      rrltzftb
    Disability Medical Notes.for-Kenneth .Del Signore,                        499-?8-0030
                           Printed, 02/27 i]-9
USER-Chriqty Gliori DATE 12/tO/:8 TIME-12:O?:OB T
Rcd reeords'hold.
il.sER-Chri    st.   v    Gl   .i
                                    or.l   DATE-'l 2./06118 TIME-12229:55 T

                                                      Redacted
qsqR-chrigly Gliori DATE-LL/20/t8 TrME-09 :01 :04 T
Rco cancel.Lat.lon tee and sent. "okay to payil for IMX.
gsEB.- Christy c1!or! _DATE- tL /O9 / iB TIME- 09 :5 7 : 10 T
l wr.lL be out ot
notif ieci DM to pIsottlce  on la/12/18 for expiration. Case closed coday and
                      send ierm-tiahsacEionl-'--
USER-Christy Gliori DA?E-:-t/Og/LA TfME-L1 :28:06 ?
RcO lrom pt:
Hi ChristV.
    please'disregard me previous email Lhen.
    Mv concern wrEh the rMy E.eeting.is E.hat r may have to fire a federa.
haraSsment lawsuit. in whicf,--4sii=iE-eEi:mi.       [o"'il6 tF;t EXe'r'MI E""Elts*wou1d
amount to.providing 15- honis of-maEerial"'trriE          CIn-ijE-uitiE iorr-nsr me.
   I'm Lrvr-nq Lo geE a hearinq w.:.Lh an. OSHA aduiqlgr.raiive         ldn-iudqii-ind r
chouoht ir fiiohc"be useful-rd     ba-on-t-rre-LireiilEii-Eia$iiIcv-i"**ftfcl^^tri       it
probiblv   doesfi't matEei. --
  AnywaV,
Ken  '      Ehanks  for  your  help,   i: was  critical.
FU Eo cLose case with expiraEion and noEify all.
USER-Christy GLiori DATE*tL/07 ltg TrME-13 :14 :17                       T
Red:
Hi Christv.
   I saw the DLOA- meqrioned 1n a lect,er you sent me.
me? It is my belief that. tle     companv d5ee
would sti 1t tike to ief iiin iF-possiuT6.       not \dant me ISto that
                                           ---i,ni-puisiiinii-
                                                                         option open ro
                                                                    returh to worr, but
                                                                   O.$HA complai4t fhar
hcpe qrisht unstick rh:ngs. So' if -DIOA-could bili'Eifti an   ir  mrgnc. be good :o
cohs:-de7.
thanks
Ken
SenE:
Hi Ken,
Spe my origingl qmail
already cailcelled Ehe below.      I hiqhliqhced in vellow. rhe DLoA porEion. I have
                          appoi4cmenr6 yoil conflim6d-E6ai y6n would-not
Iliv?      go9!q9!LaL ron or r ntormaE roh to support a r-equEsl, for a DLOAattend.
                                                                             again.
                                                                                    I
Hope  th:'s
      Lrg,   answers  your guestion,
I aKe care,
Christ y
FU    r:nly to close                ease.




                                                                                       NOKTA_000062
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        Disabilitsy Medical I{otesiIEEdT"gtTS)               sisnore,   4ee-78 -0030
                                                      ti1,
usER-Chrisrv Gliori DATE-tt/O2l18 TIME-14 z12 222 CD't
RTW asseqsm6nt rcd from psybh i:rovider
Estimated rtw: unknown                   '
Will he be able to return to work? No
onqoinq emotional distress
FE-ip  durreEt1y limit.ed in his abillty !o focus on tasks related to position due
co claiqs of hirrassment and.oEher    leQal matters.
Accommodation: Not at this Lime.
!t will be unable to-pelform_tasks related to current position.
Do you expect. . . apply for LTD? yes
sighed to7 24 /1,8 .
Sent emaiL to IMX to pls cancel appts since pE refuses to attend.
FU Eo close and have DM send term-for expiration.
USER-ChrisLy Gliori DATE-77/02/18 TIME-13 :32 :22 CDT
Rcd.ggnfirmhEion-frer_n-pt_via email rhat he u1ill nor aEtend appiont.menE.s. Advised
r wil-l cqncel and will'close
processed at thaE  Eime Eoo.
                               his case on trlrrl1e;iah-eip;-"4-Eiiiiii-iJlli'Ue
Have DM send DP t.ransaction at that time.
USER-Christy Gliori DATE-Ll-/ 02/rB TIME-11- : 21 : 19 CDT
KCO IrOM DT:
Hi ChristV.
   thg coinpany is. denyiqg everytfring-i4         my eEhicF.eomplain!_.
. return
to         uncler the condlt.ions Ehat Ied         mE   to t.aking disabil-ity.I wiII noE be abte
                                                                                   So f don,t
think anv furt.her tests are needed.
thanks
Ken
Sent:
Hi  Ken.
JuqE. Eo conf      irm; You wil-l nol aLtend the appoint.ments set for you on          11   /Z/tB   artd,
L7 /13 / t8?
Pending response, I will confirm and cancel apprs as needed and will close case
with e*piration.
USER-Christy Gliori DATE- 1-0 /3Llra rrvin- 09:18 :51 CDT
MUST Have cbnfirmation by Friday t.his week oEherwise if he does not aEt.end,
there will be a cancellaLion fe6.
USER-Christv Gliori DATE-L0/3LlLB TIME-09:17 t42 CD'l
    qqesLiqir. from. pE if the IMX tescing is someEhing all STD's are required to
[cd Advise{
d9.          him this_is on case by cas6 basis.
PLease confirm attendance.
FU    PRN.




                                                                                  NOKTA 000063
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     Disability' Medical NoE.es. for _KenngEh .Del Signore
                                                     '     ,                XXX-XX-XXXX
                            Prinred: oz/zt/tg
uslR-_chrisry
Rcd from pt':
              GIiori DATE-m /30 /L8 TIME-T4:46:55 CDT
 Hi ChristV.
   Cara is'ta\ing a^lq1rg timg getting back t.o-4re. We met. last Weds. and she was
 going to read- tEe ostiA"qoupl+i4t anil then cal-1--me on CEe p[o;e"I6-fiIt*oilt-ri:e-
 ieLuin to work form. r filled out     the providef-rqim-Jna'-fliiqa-fu-t6-tEI-r'ii5ay
 and 9ci11 no- word. f,,ltsched is the unsibned providEi Eijim-5iid*rh; 6EHii--
 complaint, which I think is necessary cofiLeit'Ior-iny ae-isliins*regll[ing *y
 matt-er -
   Given-the information in Lhe atL.achments, could we have a cal-1 to discuss this
^proposed  testinq?
   r'd.o not chinE the Nokia council- is going_ Eo let me back in rhe buildinq and
 on the coroorate network so I am not sfire fihat to make of Ctris-liioposed-iilo-dfvs
 of tesc]-ng.
thanke
Ken
p.lt.ached is thg provider -rtE- assessmenE lut lhe employee has filled                      in al1
blankg.and- it_is-unsisned. The answers also do noC'make-seirse.
SenE him E.he followin(:
Ken,
The- form you -atEachqd is the one !haE. Cara neeci.s t.o fill  out and complete ful-lv
on her_own. she needs to enswer all those questions and reiurn-Ene-f6im-diiecE'
       by fax.   r
Fp fe was sen-u Eo you
                   am attaqhing anoEher copy-for lrer. rrre iteafEliciie Fiovraei-idrm
that                   is-for your Primary-Care lhysician      ag we harre discusieA---
befors,
qet EhisYsu   gnly         mor6.$+yr of SfD benefiti io-it-is ImpieiJtIvE-IEiE I
           back as !?y9.2
                   soon as possiblb.
Your.qbility Eo rqEurn to^work rests wit.h the findings of your doctors and the
ploy]pgl_I_?*_Ee*dllg   ygy_!9_rgf cl,g twg appointmenE.E. rhe3a iinainss-wllt 6iilp
Eo determtne rf f can release you-back-tq -wbrk. It has nothinq to dd with vour
1p_gaI  or.complqint issues. we i.rill need l-imit-ations from voui=piovfdeis-Ind-it.re
rME provide4--if we are to consider-any need for accommodaLion         'wicrr-J-ierdlse. to
                              (Bi5Ei:"hl:rIY""EpEf;t"EIFil3rrHfi      g+t];E]"t;,i""    "" .
File[il?Ey:igi;a"B?1oi+8fi.5"
benef i.ts if vou are qoinq Eo attend.
I am.alqo-at.Laching Ehe Sppoiptgrenr   information ggain fgr youg reference. r have
rFceived further instruct.ibn beiow E.o agsis! wirh-arrendin6-Ehe-;aaoi;iamenrs.
fhe doccor titoughE this p,ou1{. be helpf ui. . Pleasq conf irqr, y5u will' .aaaend. it'vou
do not attqnd,. lour STD benefj-ts will expire     and you wili'be aaiminiteii-trom tE;
gPmp3ny lliLL/18 per Lhe STD letter sent-to your home and                      atE.ached here also.
InanK vou mucn,
Christy
  "MPy just wAn: Eo makq: sule $r. DeJ Signore knows that t,he 7t/7 appoinEmenL is
wrth-our
wrth-gur    technician, AIec Nea].e.
                                   Nea1e. A1so,-our
                                              A1so,
                                                so, our     quests
                                                     our quests      find l.E
                                                            suesEs frnd     itic i-Ielpful
                                                                                 hefbful'Eo
                                                                                 helbful-Eo-know-fniE
                                                                                            to know that
our address, 55 tsi,      wacKer yl-age,
                      E. Wacker
                          wac)-<er Plqce, is
                                   Place,       not the
                                            l-s not
                                                notr the Same
                                                     Ene    sam   as E.E.            bRrvr.
                                                                                     bnrvr.
                                                                           Wacker DRfVf.
                                                                       E.Wacker               wiiiih
                                                                                              which   can
be    confusinq.
              nq.   We-  are
                    We are    localed
                              locat.eo
                              locat.eci r
                                        in             Michiqan
                                                ween cr,fdln-5na'
                                            between    l_uichig    and Wabash       Avenues -iiiit
                                                                         wiEIl'E-aiii""E€
                                                                                    Avenues   "iust
                                                                                              -ina
                                                                                              -and   neit
l=(f,
depending on
dependinq
              s-SLeakhuuse.
l=rr M(fTLOrr'S     akhr;use-
      MoELorr's-Steakfr;r1se
                StealihiJuse- - The
                          direccion one
                  which direction
              on._which
                                       other
                                 The other
                                       other
                                       oL
                                       one.
                                               name.
                                               name
                                       on is cominq,
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                                                     of
                                               name of    our
                                                          our-street'
                                                          ou5-street
                                                cpming, the the
                                                                         is . South Waiei,
                                                                                       Water,
                                                                 srreet-sig4-m5v s-iv-sou-CE
                                                                                                     ""*r
                                                                                                    water
rather
rathqr than Wacker.
raLher          Wacker-
                Wacker    Pl"ace.
                       r Place.     FinalIy,
                                    l.'Lnally,  there-is
                                                E.rlere  1s  parking
                                                             park1ng
                                                             pa         next-door'co
                                                                        next    door co us,    -Eut
                                                                                           ts, but iEiE-i;is
$:+
S34    for the dav,
                dav. whereas
                       wt        parkinq at Millennium
                                 parking        MilLenniufir    Park"Garaoe. just
                                                Mil-Lenniufir Park"Garage,         ius[-:-E1oE[i
                                                                                         3 bloc[s i*ay,
                                                                                                     au/av.
iq 7 f or che'
    $-t             day.   tl
PLAITI:
Pendrng any documentation rcd or answer from pt




                                                                                        NOK|A 000064
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         Disability Medical NotesifiE5dT.giTi\ y"rgt signore, 4ee-18-0030
USER_Christy  GIiori DATE-!A/25/tO TIME-09 :54 :58 CDT
Rcd from nt':
i got t[e'info.    Let.s-ta]-k when you have time. .I met with Cara todav. She had
lg!--rgeg_*y_gs|I+ complainE._ rE-is-absut a 30 minuEe-reidl -sh;;;;-6oin6^'E"--s;
over that         and then she and I will
                                     fill out the return Eo work assessfrentl
Ken
9g"I:^Pk?y.
go DacK tgf *, F[.gygh!-.yoy_Te!_ry1t!_\gr ygslgrday, Do you have an appoinrmenr                     Ec
            t1l.-L1ng out tfre torm today or Eomorrow? -
We can talk
       Lalk once thaL is done.
Th4nks much,
Rcd:
Hi,
Hi_,
        was-going tg re+d. lhe
. Fhe.ner                              osHA complaint and call me. fr can call tomorrow and
                                   he OSHA                                                    ar
rel-l        I need ].t oulci<Iv-
   What is this two day eviluatio! for?-.1 don't_recaIl trearing about it before.
   oid vou
   Did
,,-piq  ygq read      this cbmplaint?.
                      Eliis-c6m;iei;ti--ic-ii'
               ieea thig
   Lps :7 / dr ive . goosle
                            c6mplaint?..rq-fq
                     sooqle . aohloFen?
                                           _rc is hiqhly     re1ev3!r.!g
                                                             relevant  to mv
                                                    hfgi,Ii-.efenanE.t6-mt
                              coin/open? id=lx[Q,',rgEsef,roTxnut
                                                                          my iEtuin
                                                                             rEtuqning    woitl'
                                                                                       ro wor[.
                                                                             rErurninq Eo
lIlpp://drive                            id= 1Xf Or                iEl a)wUdyirwiH;
thanks
Ken
Sent.:
Hi aoain.
The dppointments are tlle ones I have Ealkgd about From IMX that we were trvirro
to,pep-gp.Fof recomBenciations for you. r k+qw r have menClloned-riiis'vIa 6miil=as
well but-just
            it is not for a new L.reat,inq provider.
This is.        an outside,-.thir{ party-enalultion EhaE inqludes some restinq so we
have a betEer understanding of_hny,-apd aI! your nedical      and mentaL healtH
needs. Ai this peipE,    we 4ig also'looking Foi-conFiimaEion--ot i6ii^rijiiiiv
return Eo work -with,'or without    resE.rictions,                               ro
                                                   since rheie a[pe5ii-to-bA^;'15[   of
issues at stake for'vou.
Il!)-  have to let..ygut dgcEor/s lell us if the coJnplainL you aEcached will have
gf fecc. on her opiirion gf -youi a!i1ity to work. th'e-iME-piovidei-cfi-ar36-ri:E'is
know cbe same birt we will'wait, for the Primary aoctoi;s'Fii6rwor[-a'nE-Edr'cara,s
i-nout f irst      -

Llll_i"g-,you--Elo*  once I har4e received and reviewed the_Healthcare provider
Igpo,lt  f r6m your primary and the assessment f rom you and -eara
l nanKs   ,
Christv
Rcd:
Hi Christv.
   I don't' recalL this information.             Is this tesEing reguired in order for          me   to
return Eo work?
thanks
Ken
Sent:
Hi I(en.
Y:=, -tbtg ig one
qtlgr-provrder     of cFp feguirementg for reLurn- !o work of course pending your
I'iI
                 lnpuE Ehat f am waiting on as well_.
      l-ec you
           '   know-as soon as  I receivE anything eLse.
Thanks,
FU wiEh pE and wiuh provider as_4eederi. If norhing is_rcd from provider, we wilL
move fwd'on D:oA with mgmt ao aliow Eime-foi-rMe--domple[Ion.
usER--c!rtsry Gl iori DATE- t0 /24l18 TIME- t4:25: 15 CDT
Asked
Aslred         pl-ease aqcepE
       IMX r.Q.please
           t.b
           E                   apBointmentE so we do not
                       accepE appbintments              no lose them.
Rcd IME  confiimation   letters-for
     IME-confilmaEion-letterg-for    boch dates and sensent t.hese via email
                                          he has rcd and will-acEend"Efie to nL
         con
personal emaiI. Asked Ehat he confirm
Appoiptments.   I will send adQendum
appolntment.s. 1wtJ"I
     also once ciocurlentation
ahd also
                              addendum to F1nal        leLter once this
                                          F!na1 STD let.ter
                                     yesterday's
                                from yesterday's
                                                                    this is
                                                   appoinlment is rcd.
                                                                           is-confir
                                                                              confirmed
Will need status
Will       status of RTW assessment from piovidai-.
                                             o?owida-r.
TC to Dr Mull'igan
          Mulljqan on 630-4L6-8289 and phiient
                                          spbak to,Brranna.
                                                 to Brranna. Asked if I can speakspeak co
doctor regardifig
        reqardifiq pt.
                    Dt. Doctor is with a phtient but she wilI will oivE-the-mesE5o.,
                                                                   givE-the-m-ciss5ge'-and




                                                                                 NOKrA_000065
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ask her to call me. -f will ryait _for call for staLus of yesterdays visit                                  and   RTlt
assessment. RequesE her to fax direct to me.
FU if no respofise from pt or from provider.

        DisabiliEy Medical NotesriEEdT.BBTE\                         sisnore, 4ss-?8-0030
                                                              t?8,
USER-Christy GIiori DATE-L0/24lre ffMp-1,2 :36 : 11 CDT
AnoLhpr-email iq gent-agking fbr_copfirm4tion he rcd c.his and lasc email.
1:!"!IFg   ggpy-gf fiqal letE6r
and able Eo-attend-dq-'es
                                 and also
                            given so I canadvj-sqd_  r need--Co-tcnciw i-I-Ee-i'6-'i,irrins
FU with IMX as needed
                                             schedule.  Need response-today.
pslR-chrisry Gliori perE-Lo/24/r8 TIME- 09 :44:42 cDT
Rcd:
I got a response from the doctorl
llere is what she said abouE the evaluations:
Let's have E.he examinee come for teaainq-iin-vtednesday 1r/z trlch our Lechnician,
Arec -Neale (ea to_ 5p) . rhe iniErviEw-wit[--nil-Hw5i5i.'e[i'*iii"ii.";fru'i;iiowlnq
Ipg"qly,._111-11, qIs'o ag ea. -wrrile-wii isli--vou'ro"scEiidiii."i-irii iu'-t;"6;"f;I,
Ehe second exam day,.if Lhe gxaminee works'at      a-noii,iif-pacE iE-iiii    SXtitneea a*
lllligy._    we just'1ike Eo-plari'Iiji-wigAle ioon, in case'so'reoi."fi6i"E"3l"ilii*
completlng psyEh testing, etc.
If all of this is okay...i will schedule and send notice todayt
Thank you :      )

Liz Martin
Advised her I will speak.Eo-pt and let her know ASAP.
Email- sent to ^pt to hsk if hb weie gianEEd b-iioir'Eloa, would he arrend both
anpointments?
Albo asked for outcome of yesterday's visiE. I have not heard from provi-der or
 seen assessment. form.
USER-Chrisry gJiori DATE --f,!/23ll_S TIME -LL 23:31 CDT
TC to Kara Flulliqan's off:cb 630-4ta:aze9 eid-GpeIli co.desk suaff . she r.s wlLh
r:aLients. Asked Ehat thev-oive-[ei-messise-for                       bE appoi;EmiinE-ioaiyl"FriI=e-iIx
fprm he brinqs, {irecq a6 fi- ano-cal1-atEer-app6intfiEir.-"'-
Shq takes aIf info and wrII-qite                  EEis to-docESi-ncj;'.'-.."'
Left same messaqe vesterdav- -
r wirl, FU with .pt f or f indings tociay and FU with-ri:e--r            IMx if no new appoinEmenr inf o.
!tF!_81qry",.        IMx'was conf irmifis providei wilr do                     t7ii/fi- ipfiEIit^mEiri"riti.,o,-,t
extensive records.
Will also speak to pt about appointment and expiration.
qsFB-chriggy_Gliori
qsFrR-Chrrg!y_Glrori DATE-tO/t9
USER-Chri
Jabber
.Jabber ca call           pt DATE-!O/t9/L8     /LB TIME-13he: 30has
                               and he reports that
           ca-l .,i- trom pt-_1ng_Ee_repgrts         that_he
                                                                    15 CDT
                                                                  : 1E
                                                                      the forms and is seeing Tara? on
                                                                      rhe
Tues{ay. He will have her comblete the-foim-
Tuesdav.
     als6 asks
He alsb
     aIpQ   a         alout  pqp fi1-in'q
                      about ocp   f             out one. Advised sed si4ce
                                                                        sipce hehe_isis und,er
                                                                                           under pcp treatment
                                                                                                          trearment
as
qs we1
     well,    rIf neeQ
          1, proyider
     wel"1,       need 0l-0'ftom
       clrat progider
fqr Lhqt
lor
                                       pcp."He
                         01-0'{tom-pcB."He
                         010'ftom                 asrees Co IeE
                                                  agrees              me know j. f he cannot f ina - Etre -cir
                                                                IeE-me-i{now--Ir-rre-'Cfirr"E'fiii"Fr.,"
                                                                 e! _ rne                                          or o
  dv s
                            and  wi.11
                                 wi.      drop
            ptppcdoes not need to s6nd any re
                                                 qo"Ehem as we11.
Aor4rqed
A
R c d f rom I Ivlx:
                                                          release    but, at l-east t.he 010. He agrees.
?I._-9919p!E_in ca11ed me back today. Here are a few rakeaways from our
conversatton:
Ine earrtest
The    earliest I clate
                      dare Wi-th  her colleague is npE
                           With.her                          ngt B+ti]                       do che same work)
lE:=^l^lyg                a1uaE. 10n,. interview
                  Cay evaLuation,         l-nrervrew on
                  **y..?y3lu3!lon._interrliew                tne Until
                                                        on. Ene
                                                             Che fiisE
                                                                 rlrsE.day\l/t3 and(chey
                                                                 f+isE,day-and-t'o6nlEiv6-r56[ing
                                                                                       coqniEl-ve testinq on
Ehe.secofrd
Ehe    secoyrd    ReQuireses  records
                              ricords
                              reqords        io flo
                                             to-do-a
                                            _io         fulI potentia
                                                               evaluation'
                                                 do 4 full--evaluaEi           (especidl
                                                               evaluation'(especidllv-osviE-n5i_"=
                                                                                             lv-nsvcE-no'CEs
                                                                            1 y coil r d
     "
g+ving_    the shdrE term        disabilitv)       If   Ehis
                                       glf-l i!y) -I-!-_!              iaI               -6ec5mE  -A .- r     -
d:-sabr1rt,y, she requires!g.rp-_qi                       Ii! -po!enr
                                     " 5 year3' worth of'records
                                                                                                          oil6 EE.m

9!9.   +t going.      co 9mgi1 4e her CV and her celL phone number, she said rhac,s mucn
easier     Eo q6t a hofd        of her.
r wanted t5 run all of the above by you t.o confirm if you would like Lo move




                                                                                                NOKTA 000066
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 forward wiEh Dr. Goldstein
 Thank you!

 Liz Martin
T9--Yilh-Ty_!gmt and discussed-case. r wiIl FU wir.h.provider ro have her fax form
g;i"EE  ;8,'s.EEsIi:=Sfirir'Tlfi},El?E=EE*i[*":?.ri:;[:af;if;F"sii;,ii;i,if'rllt"."
have pt attend rME as neeaea--5ienains-frniiiii{'='-"8-F'='i.ii:"'
         Disability Medical Noresrfig5uT.Bli|\                              sisnore,      rss_78_003c)
                                                                    t?8,
gsEB-Chrisry clio51 DATE- to/rc/ 1B TrME_l_0:41:14 CDT
seno copy ot the t:-nal letter to pt once it has been sent by                                       DM.
            - Gliori DATE-:-O /tell8 TIME_10:37: L0 cDT
usER-chrisr.y
october       18, 20L8
Kenneth De1 Siqnore
1509 Patterson"Ave.
N. Aurora, IL          50542
Dear Kennet.h De1 Signore,
 rt is our conclusion that all t.hp documentatj-on thaF. has been received 1o dace
conf   irins that vou wirr noc-EE ili[e-ro-r;t';;;-86_;i;;ri_il;Io;'Lo                                  expirarion-of your
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 ciate has conf irmed that-vou E;;e-fr;d_;6 ;iAfrif i;i"E-imii;;li;;.;f;'Iij y;;;'healrh
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or consider a hLoA exteniion-requesL, r-muit' receive'documeifaElc""iliii it",
provider,/s        reoardinq retuin--wIIE-oi-'iiEtriiilE-reEEiiiEiSi"ili';ii"Ar]i;-ii6i":hitusi.!
the Retuin to-work EsEeisment-rcirms vorl"ESrie-;;;;i;;4"i""'i[. recenr pasr.
I have noL heard from or received anv .furthe-r information from vou or vour
providers        aL this :ime that would ind icate abiliLy to retuin-'i'o'w5r[-oi-iEqresr
tor DLOA extension.
The accommodation you reguested of "an.adminisfrative position working on the
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Baseci on the above, you will expire yqur STD.benefits.and you will be term:nated
f rom the cor:rDany n/7LlLs.-itowe[gi; if -tou-A+;;ii;;A"iliiii*rfiE"mjdicai-c|iirusions
drawn, then bleise havb-voui-heatrhcare'provid677E-piS,iijriii rerurn atI
docpmenEa!ioh for consid6iaE:-cin-oi--iny-cfiing6E-wlEhin-[fr;'flexr week ar rhe fax
number below.
rf you have any quest.ions regarding the above, please calr me.
Sincereiy,




                                                                                                          NOKrA_000067
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Q+ri.sfy.Gliqri,     R.N.                     Ariqie Naii
Dr.sab:-J_1ty
600-700.MOuNrAtN AV        --'----J--
              Suppqrt Case Manager Disabilitv"&    Leave
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Bq-qm_{,6D-401C
NEl{ pBQyipEN_cE._N{ 07e74-0535 u/S6Q1 Dara-Drlre
                                       nemrr---
I'eJ.: (224)230-5572                        PLANO,.TX7SO75_783g
Eax:   (e08)  se2-33s8
Fax: (972\ 477-4223                         rJr*,'-tzi+'l zds:j1i|'

        Disability Medica] Notes.    for -Kennqth .De1 signore , 49g-?B_003CI
                                 prinred  I oz/27 /19
                  Gliori DATE-to/LB/18
 I.rna-t -etter senL to pt. via email TIME-10:1G
 USER_-Clrristy                                       :06 cDT
                                          and regular mail.
 USER-Christy Gliori DATE-70/17 /tB TIME-12 :32 :45 CDT
 t(co response trom pt that he rcd both forms.
gsqR-9hflp-ry Gliori DATE-t0/17 /t B TrME-10:44 :2j CDT
 Kcd pt. R'l'w assessment:
Extreme nrental sEress due Lo i!}eggl activity on the parL of Nokia
 Extreme duress due to onqoins leqiI-acEion--
Do you expect return ro firok? AfEai hiiiidment ]awsurt
State the' limitations. . .,-----
unable t.o fogus.on subiectg           rel-ated to regal rnat.ter.
Duration of limitacion6?-ilf- nq'u d5v-----
Form of accommodation? stialgt-1ine adm.j-nstrarive position worki_ng on shannon
Proi ecL.
        .

S?{p...!ep!:p^is-evide4ce     in a federal crime- need new laprop
Wr11 _you-be-applying for LTD? yes
 r undErstand it tea6qnabie-accommodatj=on/s aIe_noi_ ava!1ab]e and r am noc able
to return ro work      before expirarion of nv-al0-sti-ueteiiG-;"-iizirTi'a','";v )
emplovmenL wil l be terminaC'ad-;na-r witt'b?j-iemove6-rl6fr-[lU"pivl"or'1]"'       "
Sibned )-o / tG / tB
                 .
I. fieed uBdqqQd torm -sig4ature with Nokia name chanqe.
Al-so need PCP provider-documer:t.ation      and provider iiw assessment.
Wil] send final ieCtei
IMX continues ro acEempt findinq aopropriate.IME,.f Will discuss possible DLOA
with team, to compleEe'- rire-TME-'firr6il E5- ;;;din;"i inait 16rEEr.
USE$-Christy Gliori DATE-10/i 15/rA rfl,te-15:38 :27 CDT
I\o {urther
No            docume4EaEforl qr'
     lurEner posgible
              documglrEatio4  or CommuaicaEi.o
                                  communi.cation is rcd to t.o date. T will FU wiE.h mv team
io_discr;ss
to  _discqss                  for  non cert
                         need Eor-non         oi
                                        ceiE-oi  t o
                                                 t.o iust
                                                     JusE  continue
                                                           cont.Lnue to work on IME needs
and send out that info and final leELei lerrei a;s approprlate.




                                                                          NOKTA_000068
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       Disability Medical NotesifiB5dT"6ti|\                     signore,   4ss-78-0030
                                                          fi1,
USER-Chriqcy Gliori         DATE -1,0 /LtlIB   TrME-08 :30   :20   CDT
Rcd cc L0 / 9'/ La :
He11o Joe'.
 -lased  o+ my-understanding of the. soX laws,. t.here.are multiple corporaEe
off icers inv6lved in this taiEei--itrai--coiliE'be facing prosec-uEion. 'rf .hese
officers  are involved in-rrre-conclii[inq-EtEoiE. r5-ieiEtii;i"m6-tlci,i
soX protected l:!}yily,-.!lgl r wouIcI-i6crueGr-Errai
escal-ation channers De nursuecl                                            =i6"ilng in ,
                                                       iif--tiliinlii *iIrgEiiSfiE^'
  I am in the orogess of fiiing an osH.g complaint with the -intg4t to proceed to
B"iBiB,Bl"firof}EI.!?::'Fl;t5;lBH"iit,+tff;;EEE"Eraxi;i;"t.::.ilrs$.lii"Ei,:i=*       '"
  Furtherm6re,'bv diSablinq-mi-taprop-ifre;      r-h;A-diE6"i5;ed;-;;iEi";i"EeraiL
pert.aininq  to this matEei. -woftii-is-In-vlo-:atiiiil*oEtE[;"ihE"p;";].;I;;E-"f'rhese
laws chat-orohibir
           '         Lhem-Eiom-in[iulLliig-me-=;a;".iiaiiig-lt , proiecced
activitv.
sptfir8fii'.f;5 :3fi*3f,#,8?[H*"if,'.H5"33i=tr,l."?'$i333;E:"5".f,X 33ilH3It13,].E5"8.8?
thanks
Ken
 Joers resDoDS€:
 Hello Ken- -
Ap Christy said earl-ier Eoday, t do not have che abiliEy to grant you or anyone
 else acce3s co Eheir lapiops'.'
 Regards/ Joe
 _I- sent following only to pt alone conf:
 Ken,
 f am sorry this ie croublinq for ou. We need to cont.inue under che STD plan
currpntly-. Under_chiq,            you Ehoul noc access your computer, t.he workplacb, or
anyEnrng worK re-Lated.
P16ase feE. me know Lhe date vou w!11 see Dr. Mulliqan and                      also when you will see
yoyr Primary         ro complete alf ifie f orms we need_. r #i r r - rieed-                   tes and the
rnrormaEron reguested, so f can contr-nue                your benefits underEEeiili-iia
                                                                                     STD.
lhanks       much   and Eake 6are,
Christy
USER-Chhristy Gl ior! DATE-701 10lre TIME-09:32 :07 cDT
Aaso rc
Also      rccl  orlor Eo lase email:
           co Drl-or
Hi Christiz.
           1on6'ter drsability
     The 1on6'term
uhink f'm-qoins to lry and repreFen!.ative                ca1led me and was surEe heloful-
                                       come back !o work. . My lega* sirriaEion--iG'iEit r I
have submiEted
          submiEted" an osliA complaint based on my                     cdmptilntl--F?iriSriiii-rrre
OSI{A     comolaint process, wnlclr can Ea4e up_tQ erh:-Qs
OSHA complaint                                                 219   days,  T wil] be able tc"do a
"SOX kick-out,,'   .    wnlcn means 1 can tr-re a tederal harassment               suiE that can go LU
a iurv tria1.
    So,'1eqa1lv.
     50,
    So,    J-egally,
           Ieqa.Ll.y,  my
                       mV  case
                           case   could
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Auq      31sL as ieEailed
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                                    mv ethics  tomplainC.
                                               SomolainC-
     IlI   plannrng
---Illl_pfrnnrng       to  see  Cari   Mulligan
                                       Mulfigan  alain    nexE
                                                          ne      week  and  get   you    Ehe forn.s.
chanks
Ken
Advised pt Ehat he remember I aiso need the PCP 0L0 form etc. pU as needed




                                                                                        NOKTA 000069
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      Dlsability Medical NotsesifiE5d|.gli!\
                                                     iE, sisnore,   4ss-7s_0030
qSEF-Chrisry Gliori DATE-10/r0/1S TrME-         09   :24:32   CDT
seflt to Dt-:
Hi Ken,'
Joe a:rd r do noL               the.abiliiy to-grant any access.-
Disability (sTD),have      access is-susp6naea=ind-y6u *ay need while   Eo
                                                                                 on short Term
qompuiei-fpr"pEisoniI-iEea;.-sib-Ae;;              ilii[ Airow iny wortiL

AcgFss would hcc be.rurned-on-uncil-t iiave-iEIeaEli&               yEir''r6.rerurn
                                                                           'ji3.3ap:58?+it".
                                                                                       Lo work. r
Xillnifi&.H"5?I.tny         do-umentarion-ild-yiiu'iai-Eomfrilii35[e"iliEE-ffe",iE"li"iiisardins
Egify   w6 cannor help with rhis,
unr].sLy
usER-Qhriscy. cliori DATE- L0/70/ 18 TIME-09:19:07 CDT
rMx Elizabeth Marrin
wilI FU as needed wirhis rMx-     awaiEihs.cilf-Uaek-irom or. GoId.sre:-n regarding rME. i
                                      ana--#i[ir-pcl
USER-ChrisEy GIiori DATE-t0 /09 /Lg TIME-14 ;4G: 51 CDT
Rcd trom Dt:
Hel-ro .Ioe' a5rd ChrisEy,
   f am in Lhe procesS'of-submitt.ing aB QSHA complaint.              and need access E.o mv
corporate
uurpurdLe
   rpg.r?!g   rapr9p
              lapEQp Eo
              lg-plQp    ro  complete
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                                        rhe^cdmprainf.
                             complere E.ne  complalnE.                                    off, "''
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r_oj.lowrllq my oi_scgyery
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   slr arlcl
ctesK  and"I I was
       anct .L               that mv
                     tqg.l_d trnac.
               ivas EOI-o           my manaqer   had to OK
                                       managgr_ hacl         Eurnlncr the
                                                             Eurnlng  t.he- lapg.op
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                                            Del_ow. --
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however           indicates otrnerwl_se
                  ind
   ,vever Dave l_nol_cates       oth6rwise-bEfowl
                 compleErng paperwork regarding my possible return to work and need
   Iama1socomp1etingpaDerworkieo5iainomwrross"ihlerclrlrnl.nr.rnylz
]eptpp
th-ank3
          access   f'or EN].S.
                 S IOT    iEi
Ken
USER-Christy Gl-rorr        / 08 / 18 TIME- ]-1. ;L4: 57 CDT
TC to Dr. Giote and DATE-LO
                     disgussed   a small porLion of hx. Dr states
expertise is in  TBI evaluation and he would recommend Dr_E-ialnathat hls
purposes. Her number is 312-272-L776. Sent rhis info- TO IMX fOr Geldstein
                                                                  FU.
                                                                                           for   my
FU PRN
UQEB:Chrisqy_ Gliori DATE- t0lOS/18 TrME- 11 : 02 :33 CDT
ccall scnedu-Led with Dr Grote Ehrough rMX to discuss background to see if Dr ^s
able to do IME.
TQ to hi-m on 3!2-94?-5523 and Leave VM gl perFgnal system and pls call back tc:
discuss case. r r4iIt prepaie a summarv if irniEiii-Eo-4ft;i<- Eij*rrifi-rr"t6i.i*iru
y19+le:-Eo speak direct tb me as welf .' r-wiIr--notifv iMx-if -rre"doe'd"riii"ieacr.r
back to me today as planned.
FU PRN.
USER-9hris!y Giior{. DATE- r0/Q5/i8 TIME- 09 42:02 CDT
KCo -l-Mx lnto reglfglng provro.erq eEc. Have sent response
                                                       ----" as Lhey conEinue search
-f.pr 1oc4i
They        +pproFriatq"p'royicier
       wrll kEep                   fpr Np evaluaEion.
                 me info-rmed. l wi1l FU with     pE
oM conf irmed. LrD was-entefed-arid-senr - -'---- r as needed.
No response f rom pt re rny last request..




                                                                               NOKrA_000070
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       Disabilj-ry Medical NoresiIEIdT"g!iB4              sisnore,   ss_78_0030
                                                   fi1,
USER;Chrisry GIiori DATE-tA/oe/tg TIME-13 :34 : 14 CDT
KCO IrOIII DT:
Hi Christtr. qive
   I need to        t.his some Ehgught. .Right now. I'm not sure w.hat is going.Eg
hapt>en . rhaE last . ca1I -we ha-d-is -soriii=t-6 lje"tey'."'-i A;;;.iljE-wfr5r'i*'iirrn.<
happeneQ rhaE day in Ehe Ii;iF:I-;efrEl--=rE;y-Er;ii6'a ni*EEi        or laws wiEh Ehac
call   and also giiu.3*et,ili..lgE coilnectio';i *hI;E ;oiliii"iik;iy'*tE
Lopic of subpoena                                                              [frE"ri."r
                      in a- lawsuit
  Ily:   fgpgrped  this      rhe
                         !o out  FTC, DOJ,_qpFB, FCC, SEC, and OSHA.
  I've also    been reachino        ipqernally Eo see.'i-E-t.6eii:-is a way r can return
and build mv oroiecE. t6is courd-i6d[46
       and othei c6mpaniei--EouId-6e -f ;;I;;.-"'inv-Eib;;qua;;r-p6i"I-"iE{ inIE"Nix:.a,
lcs,
Ken
sent resDonse -t-hAt hq. must retu5n         the d.ocumentation for sTD in order to
qsnrinue'his Di iienef ic-niv. -[qRiia-ii
                                       -a1! _rrii"rriF-ily'i;;,iE^'s6Erir,q    rhis uv,E'
                                                                                       d.one.
Also rcd cc from invesrifiJtor--J6e-a-or--Eml'Il ili'pt"5ilE HI;-i6flryi""
Hello Ken -
Bv wav of introciuction, I am a Senior Iqvest.igations Counsel o4 Nokia,s Bus:ness
Ihceqiitv Group. I         assiqned--Co-ioniiiaE-;i"innijItl6SUl;n
                      (see - vo[7--SEtaEired-'Eompriinii' , -" i':fi ;]i. r 5f
raisEd ih sent'ember was                                                        i[a-;of,"E="= yo,
                                                                            I"s -t6. Iif 5i, y"u
that we have'concluded-oui-invesrIgIElonl"'-iEE"Eviaei"E"'a[e;-;;E                IIri'iiX'r.r.ac.
Ehe concerns you raised.
If_X"" have any questions or concerns, please feel free to contact me at any
t]-me.
Regards, Joe
.]oe AIesia
Senior Counsel
Business Integrity Group, Nokia
Pt renlv:
Hi Jo^e.'
   thanks for gettinq back t,o me guic\ly. i.unde-rstanci- your position-            I also
wasnl c reachifis o[t-f oi-any-ruirtr=ei-iil6cus6i5i{-;ffiuE";h6";;"E;;i;';i *- mv echics
complainr, bur-rarher ro e*p1ore poEenaiil-parnd-moninij-fofi;;a:"              "'r
   FrgE. my (amateur) legal uncierst.anding of the matEer, there cou-ci be
P*$nlI]!alF,$gvernment    tlnes stemrirlng. trom chls macEer. Furrhqr, from reading
tfr- ggpe fiJes fpgm sir4ilFr  goyernmefit invesCigaCl-onsl rheie-'Ilnes-Ii'n-E"
srqnr$rcantly mitigated    yhepltfre.gompanigs invSlved take sEeps-Eij-iemediate rne-
                        So I thrnk rf E,he Shannon projec!.can
wou,d SlqnificanEly reduce any subseguent goverhmefit. fines. g'eL un-stuik, ahi;
IlgP{ly+l9,}g?ues.
thanks
Ken
USEI-Christy Gliori DATE-]-0/02/1,A TIME-1G :41 ;31 CDT
TQ.from.il+n-Keyes and discubsed case and colcerns. He will fojlow up as needed
with buiJ.ding SecuriEy since r again rcd info t"hat pt was-in-6uiiaifig-IaL'E-weep.
Alsg-rcd from DM, the LTD lgtte-r Eo-be senq out temorrcw. Sent this via personal-
emaif, tq pt with requesL that. he prs noiify-me of sE;aus or-'iti"d6c"fr6nfiiioii--
recruested.
Rcd IMX update thaE t.hey are working on Np IME near pt.
[i11  consider non cert if pL does not maintain contact or send z'equest.ed
documentat,ion.




                                                                               NOKTA 000071
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        Disability Medical Notesil?IdT"A\7\\                sisnore,   4ee-78-0030
                                                    t"r1,
usER-chrisrv Gliori (Security)
                        DATE-t0 /02l18 TIME-L2 204:53 CDT
Email from J Keves                   to pLs cal-l his ceLl as needed.
TC to this 973 907-3953 and-Ieave-VM with conEact info and p1s trv me aqain.
Also rcd VM return call from Kurt Keller" TC to him on 214-587-7671- and-
dj-scussed concerns reqardinq buildine eLc. He wiII FU as needed with Eeam and
have J Keyes contact fre for*any furEher needs or details.
usER-chrisrv Gliori DATE-LO/Otl18 TIME-15 :48 :01 CDT
TC Eo KK and rcd Jim Keyes hamb. Email to him however he currentlv is offline.
wi1-l  FU in AM for discubsion on any needs. FU with pt if I can relch him foi-
update on STD paperwork request stAtus and may have'to consider non cert.
R-cd      Goa1s toi descripLion and sent for f i1e.
Will '-ob
       send these to IMX a's needed and also to have DM enter and send LTD.
USER-Christy Gliori DATE-LA/jLlra trptB-l-5 :18 :57 cDT
Rcd note from SV that a co-i,rorker observed this ee in the buiidino aqain last
week. No idea of what his business vras but he was in location. AdVisdd f wil l
FU.
TC to DLA and she save possibLe SecuriEy contact Ken Keller. TC t,o h.im on
469-991-4L45. T,eav6 VIvi i4rit.h contact inf6 on personal system to p1s call if he
can assisE wit.h security
TC-to HR KK and she doe3 not. handle this case. TC to Holy A HR and she is ouc
todav -
i_wi1i qontinue E.o FU wiEh loca] safet.y fof afry alteqnatives,/needs.
Alpo rcd requesE
Al-so      reguest ffrom           t.hat she icd fol16r,tring
                      rom Ombuds that             following ffrom pt:
                                                              rom pt.:
He1lo Tracv.'
   I'm writinq with an updaEe Eo my sj-Euation. Itm not. sure whaE else to
believe I haVe uncovereEl siqnificint. anti Lrust violaEions in the telecom do. I
induqtry.      The_Ngkia lawydrs are complicit in the scheme and.have actively
tried (unsuccessful) Eo pr6vent me frofrr learning the detaiLs, includinq
Efrreatening. to cuc off.my <iisabrlity be4efiEs "if I kepu sending email"to peopie
about an eEhics complaint that is cLosed. "
   I've subnricued my eEhics complainr E.o mu]tipl-e federal requlacorv aqencles
includinq OSHA for'rhe benefit-s threaE. IE abpears to me t6at Nokla,"LGS,       and
gEher !gIecom qompanies could be facing signiticant anLi trust fines'stemming
f rom t.his complaihu.
Forqomvself.  f see three ootions.
      back to NOKIA as a h-efp desk technician and awaic next RTF
   5ue NOKIA and LGS for har^assmeni and loss of career
   go back Eo Nokia and build t.he Shannon app.
I would prefer the third opcion and I have stated as much to the Nokia lawyers.
I don'E know if there are anv remaininq wavs ou can help as Lhe ombudsman. buE.
f'm otherwise out of options'. I do n5t thin returning' under the conditions
thaE  I left would be ftuiE.f rr1, so it looks to me right frow like I am being
f orced j-nto the second option.
Ehanks
Ken
PS ironicallv.   whil-e on disabilitv f took the ethics course onli-ne. I could
annocate a cotrnEer example to almobL every !-t.em discussed in t.hat presentation.
Advised her:
Hi Tracv.
You shoil1a let Ken know that he has done what he need.s to do for submission of
his complaint and he should expecE a response from any new invesEigaLion at some
DOanl   -
Aiso. he needs co foil-ow up wiLh "Chriscv Gl-iori" reqardinq his current absence
undei STD in order to remain compiiant wich his STD 6enefiEs. "Christy can ce11




                                                                                 NOKTA_000072
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vou what vou need to do so vour beneiits are not af fectedr'                             .
Lec him khow tnat he can orbceed on anv ootions he personai lrr f eels are
apDroDrtate for h:mself since iL is hi6 right to make those ilecisions. We cannot
o].recE nrm on what he wanEs to do.
NO:e: Hg has not acLrrally asked any questions bur is trying to ensage you in
discussion.
There is no real need for any discussj.on here.



                              Redacted
FU as needed.

        Disability Medical Notesr[g5oT"glT|\                          sisnore,      4ss-?E-0030
                                                             PrEt
Request for- NP rqri
usER-christy_,Qi      DATE-]-O /01/L8               TrME-t4 :46: 11      CDT
                 IME sent
UqER Chfisry GIiori _DATE-09/z'?/ tB TrME-),4:t2:50 CDT
fC to MO:g-give-upSiate  on btatus. No reqpense from pt and    furrher
oocumenta:lon rcd t.hat was requested. I d1d rcv notite fromno
                                                             ,Toe (leoal                                   )   Redacted
                                       Redacted
  I wrlt fU tor drscussion with MO and to request-NP JME.
 usER-chrj-sry GIiori pATE- A9 /241L8 TIME-16 :30 :35 CDT
  Sent:
 Hi. Ken,
  I have.no.i.yeE.seen
            noE yeE. seen 'uhe  the forms come bpc6           back from                         provider/s.
                                                                       from you a::d your provider/s.
SISti]I+ lookrng
           lookinq
           LooKlng for  lor, your
                        lor  yqur    ReLurn to
                             nour Return           to-work
                                                   Lo.work
                                                         work AssessnrEnt,
                                                                  Assesqmant,
                                                                  Assess             a  REturn-AssessmbrC
                                                                                        R6turn'Assessmb:rt
                                                                                        REturn-  Assessmb:rt tfrom Dr.
       iganr
Uuilisin;       and i-xeilriciie-piovi
           an, ana      a. Heiltbcare
                        a                    Provi{er
                           Hei-thcare Provider                 Reoort from your
                                                               Report               gur
                                                                                 vour     primarv
                                                                                          primary
                                                                                         orimarw   ahtslaian.--"'--'
                                                                                                   physlcien.
                                                                                                   o6wslr-.i,
Can ry6u let me know t.he st.aLus of the forrns so I'know'when                                          iookir
                                                                                                          ooking for
                                                                                                 to'-b6-1oo[ino
                                                                                    know-when Lo-bE
 themi
 them?
Have yolr heard frcm Dr. Mulliqan's office on a nex! visict
Need i!1
{eed     i]l the.fornF.so
               the forns so we gan        can Eee wbere qvhere we are go:ng-            wiEh Disabirity.
                                                                               goina-wiEh      Disability. yqur
shorg;Term
Shor!;Term
 II will         Disability
                 Diqability will  wilI !e   be up_if ygu       ysu are_ncE
                                                                       arg_ncE ba[k
                                                                                 bad:<    to wci[l-c;-:1it171"a.
                                                                                          Eo wci[l-5n-'-7it17La.
    wf r.L rrE  send:ng you
            be :,Et.lLl'rr19 y(Ju sorne     Long:Term-Disabi-it.t
                                  i,(Jllltj .LJ(JIrg - reIllt   lJlticlDI-].Ly   information
                                                                                 .]'nf OfmatLOn   socn :i.n'cabe that
                                                                                                  SOCn
mav be a neei.
T,opking
'-[aKe
't'ake care,
             forward       Eo hearing fr:rn            you     on your progress in treatment.
         care.
Christy
Email to l,l0 lo give update and confirm NP TME reguest neeCs
USER-Christv Giiori DATE- 09 /20 /i8 TIME- L2 :4:-: 32 CDT
TC wi thE mv irqmt and diseussed current sEacus.
Plan:                                                             I psych
                                                                    will also FU to
requesc Ny rPlti ac chrg ELme anq conc. 1nue Eo work wrchRsdaciod
                                                           current.       provider
obiqiq his current documentation and any noLe of PCP info. Will FU with pL as to
needed-




                                                                                                  NOKTA_000073
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       li.sability Medical Notes for-Kenneth .Del Sign:re,             4gg-78-0030
                               Fri.a:ed: A2/27 /t9
lsER.Chriscy     GIio5i D+TE-o)/L9/ 18 TIME-'J,4.LZ:36 CDT
Rccl ]-r.vlte to cca.L-L wrth:
Joe Al"esia
Senior Counsel
Dueiness fnteqriLv Grouc. Nokia
Tel: +1 .224.2115.0:OB
I oe . alesiaQnokia. :om
1960 Lucent Lane
llaperville, IL 60653
Rcd from pI:
Hi ChristV.
.. did you'iee '-he new ethics complaint?
[en
ht:ps : I / dr ive. googl e . com/open ? id*luMkgRbSe I 3 izK0 {NSgcyQ - saGzgmTCUiuI r.oM0 3 CRE I
Sent:
Hi Xer,
I saw thaL you se::l ong- Eut-
                            but I dpn'-c look at Lhgse cr -at the d€lails since tha:
*=..lgt-,:lY_d:P:rEmenL        i'm gieg;y"y-r^eiE Sijie-c5-a6"wEaE you-neeaea"Eircufrfi.
                                                                                ""'
] was jybc checking, on your mgdica1'status       a4ci how tiearrcent'is {oi;;:
??;.,*E^k??u-lI-yoy_Ir?ye-guesrions
l '11 De r:t Eoucn agarn.
                                       abouL  r.he form  r senr  foi  your-pcp:
Take care,
D^l   .

Hi,
  . yr:u sho:rid read ihar l-nk CirrisLy. you are i,n il. f L is very ,li:l"evarrL               Lo
thi;  clcinqs oi1 .
if f[ere-is an'rthinq you wanL me to change 1et. me know.
Ken
f ,(iiC go onto :he lrnk but as T am readjng. - f can set: trlar the ee star"lerl ro
edil   the documenl-!hat. I was reading in.r6al               iauseid n,e [5*iioie
ciocument and 1y*1+ 3? lqlggf accesE chls Js lime.Thrs
                                                 ii.'Is ci-scai6ing-co-me-r6aE-he    ma1,
bc able to sec if I an rcadirg it.




I. w:]1. FU
             Redacted
                   my mgmt_ to udpa;e her a:rd      ciiscuss wna c nexa aclicn Eo take Thc
shoulci at. Wit::
            leasL   ir.clule possibte          -
                                         f yf . Onooinq a: temi   !
                                                                   to oblain pcp i::f o, L'ID
EItL!y ar:d poss j.b1r uLhe:- cururrrunicaLir-rrrs is trEcccd.
L'SER-ChrisEy GIicri pD
                      DA'IE- 09/ttlrA-wiII-sena
                                       rrMp-t6:42:3C     -[i DIil :o_ pIs er:Ler and ienc
                                                -erirai CDT
           wili ani     f iorn St.' i
Aireaciy 4cd''D                                        -                                          LTD
Lu e= arrd      then F-l to discuss a$ needed. Also         iU pe: last er.Ery.




                                                                                  NOKr4_000074
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      Disability Medical Notes.for Kennqth .DeI Signore, XXX-XX-XXXX
                                Printed: oz/zl /t9
USER-ChriSTY GIiOri DATE- 09 / L8 / 18 TIME- 15 : 13 : 26 CDT
TC_trom Kari Mulligan MD and she reporEs that she has seen my leteer and is
callinq Eo discussl
She did Jeave mesqagqs but.I have noE rqo qhese. She advrsed me that She hae
onlv seen pt on 5/24/18, 6/28/]-8,     and 8/23/1,8.
She- sEaEeg- lhat ha ib Eieated wj=th medibatlqn via his pcp however he          onlv is
!?!i"g_?ol9!E,   -Q!"-Lrep p!tr9qp994 lp_pqfsgfibe greds bug'hb wilI nor -iaxe-iny-rrom
her. She confirms    Ehat he i=-ttpsychotic and delusional". His behaviour is
"bLzz4re"  buE she alsq does ngt have a baseline. I advrsed her of mv Eoniact
with. him along-lhrough $TD qnd Ehe seeming escalpiion of ti:.s-oUsessive--CEouqtrcs
and behavior.-Advised that I cannot seem Eo get-him.tg sgpa{ale STD and woi(
issues and she confirms lhat this is not posEibte with th'e delusions-'tf,a[-Eii
has. .plscussed.NP rME-and she feel-s this is an excellent idei. i-dlscussea--E1s
possib-le reactions and ghe- states that no one can help how he mav-oi-mav-not
teacL however it would be best. Eo aEtempt Ehe IME sin'ce he certainLv Cai:not-Ue
returned to work in his current state. She said. t.hat- he qeemed-Eo--w6nt--t-ij-go-t.o
a differgnt position_. r advised her of what be has           shared-nia['me if6ut-Eernq
P3id..!9.1.3yE
bnd
                gtc.-A1so   that  he hag mentisned pnotfrer jqb but that CannoE-h5frpe"
     wouLd not. resolye hiq issueg of inabilj.ty to rtw afid c[iient-condit-Ion.
She states Ehat. iri her office,    he paces and trifl noi sia ;na-,iilcusl-ea-EIt
gb,sessiye t.houghEs  about his work issue and he does appear veiv-inEelfiiienc buc
due to ]ack of"baseline, she cannot tell if he haa-inEigEE inr6 Ei;-piidEiacili
sEaLe.
Ee  dges have family histo{y of a brother with schizophrenia as well as another
familv member with-csvch      dk.
Shq aLso. confirmg hh has been psycfrotic slqce the first trme she saw him
had no change. She agrges !o hhv6 her slaff .contact him to attempt-to -niveand          has
                                                                                      -E:.ii--
come in so She can efal and try to "sell" him on the idea of an hntipsvchotic
again but she-has-no way to knbw for sure if he wiII do so. I-iiid-aaiiSe--Docior
that she may ler him knbw we spoke.
I will atEempt to obt.ain 010 from his pcp via email to him with form and
reouest.
WiIl then cirscuss IME wiEh tream and request this as needed-
DSR sPnt to mgmq with request for a cofy of Job DescripLion and Meclife form in
case he mav nEed LTD.
FU   PRN




                                                                               NOKTA 000075
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       DisabiliLy Medical NoLesiIEEdT"BTiE\                 signore,   4es-zB-0030
                                                     figt
qsER-Qh5isty GIiori_DATE-    09 /LB   /tB   TIME-09 :20 : t_1 CDT
sent' IoIlow1ng"201.8
                 v]_a tax:
September 13,
Kara Mullioan
1560 WaII Sr.
#3o4
Naperville, IL    60553
 Dear Kara Mulligan:
Re: Patient Kenneth Del Siqnore'
        DoB: 2/4/66
        Pirst Day of Absence. A5/07/tB
 KenneEh Del Siqnore has apolied for benefiEs              the AlcaLel -Lucen t USA Inc,
Short Term DisEbilitv PIah'. The PIan requiresu nder  t.hat to be eliqible f or Davment
of benef its, an eligible _empJoyee     must bti' (tI totallv disabl6d from wolk; (2)
 fqce,:-ytng approprraEe medical -are,. and (3) be medically     cerEified b y the
DrsabrI]'Ey Support. Case Manager.
 T have tle responsibility Lo revlew Kennet.h DeI Siqnore's case and have
?tEempEeci   to r-eacir you at your.office on 2 occasigfis to discuss-Voui-p5rienc
 j-ett messages.                                                                       ano
                   I haVe some-serious concerns regardingr your paeieirt. '
 fn-order.t.o dergrmine me{ica1 certj-fiqaEion stalus, qeed additional medical
 info.rmation.-- Please send, either by fax oi mail;-thAf folIowlng-do'CilfrenEitI5i     ro
the below address:
* liagnosis of E.hq gurrenu disabling condition.
 * Sublective complaints.
i- QUeEglye    finflings. includipg Iab tesLs, x-Tayt and/or ciiagnostic tesr.
   KesutES/reports ano cI]'n]-caJ- noces.
 l.Correlatioh between findings, their severit,y, and the employee,s cocal
disabilitv.
 * TreaEmefiE p-tan.
 * Estimaued ieturn to work date.
   Tf applicable, af,y recommended work restrictions with estimated freguency
Idurat                                                                                         and
       ibh.


I. would Iike an oppqrt.ueity t.o discusF fuig casq wich you. P]_ease 1er me know if
lhis  can be arran!-ed aqd how r can schedule a few mom6nts of-iour-Eime-tij
discuss our patiefit and my concerns.
Your- paEient has previously auLhorized you t,o release Lhis information and to
speak-to me, by his signauilre on Lhe original HealE.hcare Provider's Report.
Pleasq sgbrniE t-lre rPqrlqscgd infgrmatitr! no laEer ghan 9/2t/Le- Failure ro
prev+pp. +F wlthin thd dpsig4ated time frame may adversely affect youi-paEienL's
eIr-glbr-J-1Ey to rece1ve benetl-t payments.
Sincerely,

Christv Gliori. R.N.
Disabilicy Sunbort Case Manaqer
5OO-7OO MOT]NTATN AV
Room # 2B-410
NEW PROVIDENCE,   NJ 07974. 0536




                                                                                NOKTA_000076
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TeI: (630) 224-OO04
Fax: (908) sg2-o3sa

AIsgo rcd   fol lowinnggcc:-* rifficca ri on,nf rom mmcrmt
     ch risty. Ker. !r,wasst- nLL.he.e bu ittdi ng att-le a st 2 other days when I sa!^, eim in
Ei qus
Auq L.
IA als ohada teanteam
couupl eofda rrs be  ef
                        me
                       for
                          emb er qgmment
                     m _member
                       fore
                          re  he
                                    om me nt
                                   CO
                                   fi
                                   firet
                                     l-r st
                                            tt toome
                                            met.  with
                                                        thatt- lhey saw Ken in the buildlng a
                                                   me. tha
                                                      hme
                'don',tt recall what dav    mets
                                            days s t.ho
                                                         me.
                                                   t.hose were.
I'scans,        k
    $"i?x'uhil;d?fi;E
                  tha t ffiiill"HhB:"$iIg"Emiia*g5";ure
                         bui.dinq provide'Lhe
          howgver. ThaE, wou
          however.
                                         Securlty would be able ro provide you wilh his badce
                              would                      mosL accuraLe rnrormal torl and
documenrat].0n
cocumenraL].     -
Bave Sny{gr
Phone: - 331 204-3644
FU as needed with provi,der, pl        , and   t.eam   ete-
      DisabiLity Medical Notesift.Idl"B!7i\                   signore   ,   4se - ?B - 0030
                                                       t#,
USE&-Christy cliori    DA:E-09/L4ltB ?lXE-09:25 :5G CD.f




              edacted
Rcd TC also lrom Qhris-Kuntz ln tlB {ate.2/L3/LB about a co-worker       <rt thrs ee anrJ
!hat  llen wqs in tlre halle and pul I ed asi{i: sbrqe iimons -[ina-iEvet-mqmi:)-tc,-r-i'i
him,chqc. if tl-rey -ay pff Brqt B,.they will n hdve-i'Ilwsul[-on iheii=tranasi.
Advised her of Eame'chrat safety'is n6tifiad and acces6"6enied-'aid*iiail-r-l*
y?flilg_!?   g.?! in touch with liu_prgyla..f_etc. stie-contiinii-craf-s6;*iai ilijrrcins
wrEh Serqe due to RIF upcommi.nq      oir his team.
Emai-L senE-iasE. g:.ght tp,Mgl,.!cr. pls conf irm rf 9/+/18 was Ehe only Eime ee was
-n  Lhe buildinq duiinq his-STD Ehat he is aware of'.
:t js perE,inant
        noted th5t both-so4ia and Tin are in other states. T did advise then of
some              i-ssues onLv.
TC to-Kara Mull]ga!'F gfflce agail p3-0.-415.-8289 ind speak-Eo sqnia. Gave her nny
name and contactl Asked Ehat s6q let Kara kncw that I-naed-io-diEcusa-t[il
d::e tq_gopcerning.hehayiours and it is fairly uigent. -----                       pc
She wilI l-et prcVider know.
I will conEinire to compose a etter Lo provider as well fe-,r fax Loday.
                                  'r




                                                                                        NOK|A 000077
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           DisabiLlty Medical Notesi*E5dT"gliif;/
                                                     iE, sisnore,
                                                                     qee- ?B-0oro


Have been rgvi9liori
USER-phriety          DATE- 09 1t2/fi TIME- 08:06 : tG CDT
               nq cc on email.   from pL Eo Tracy QoE,ure reqaroinq his leoal and
eEhig-s compiainEs. He has senc in hew inro i6 tiei-ana-sf,e-Is-'ieiiponaiiil'
-r.wi]1 cqntinue-to  FU to atEemp-t to ooi-ain ihe--nrw-Iiseb-irnEirs-Ifid"tEil=infc, from
hi: efgrl9:.T:^_rf unable to rea'.cfr,provlder via phone,-r-wIll'-send"IefiEr-iequesr
for bIl document,acion and decails^.
May    consider       TME-
gSqR-Christy G-Liori DATE-09/r0/18 ?1M8-t2 :45:46 CDT
Rcd:
t.he'lawyers are suppoeed Eo be in coucn w:.Eh me codav.      I ' r. gorng Eo dernand
                  LGS- SeIf report Ehie
t.hat- Nok_ia and LGS--3eIf        t,h:s maE.ter to Ehe FTC.
                                                        FTe. UyselI pnd everyone el.se
  ho has
whq
w
w         been harmed
      h+s been    rmed can seEk remediat.ion  through norrn€ regar cnannetB usrng the
                                 remediaEion-Ehioucti-noima:.
FTC dlscover  ry.
 I will watch for input reqaroinq rtsw onlv.
FU wit.h provrder an8 pt ad need6d.
!)SER_- Chriety gliori     09 / 07 /LB TIME- 10 :41 ;2j CDT
Pt also cc'd his mgrDATE-
                       however m(3r emailed me to sraEe he wiII not' respcnd unless
lnsEructred.

                                                                                              EO
                                                                                             and
                                                                                             aame.
TC again to origlnal number and dld not leave neseage afEer call was no6
answered.
,fusE-pow, atLempE,ed agairr ald thiq number states that rnailbcx i-s full.
I will cont.'nue- Eo acEempE. for update.
Rcd from pt:
Hi,
   I am stat.ins on the record
                           (Sfe+)that I feel I rnav be rg rnj.natusErv
                                                               ohvsi
                                                               Bhysical    leopag<iy  because
I've uncoverec
.L've .:ncoveretl a Iarqe
                    larqe (s1B+)  fraud Ln
                                  traucl in tslre
                                            the telecom
                                                      com IncusEry
                                                  Lelecom
                                                     people        ry
                                                            intlu6cr    ano
                                                                        an
                                                                        +4o- my  laDtop
                                                                             mV rapEop
                                                                                        ' I nas
                                                                                            has
been frozen so€o E,haE i
                       I can:roc communicate with
                         cannoE
                   you put ae
                   ycu                         w:.th  eople
                                                     neonle    who cbuld
                                                                   c6ulii
                                                                   cou:d.
                                                                   c        help
                                                                            nelp  me.
                                                                                  m'e.       an
                                                                                             am
reguesiinq
reguesE.ing
reouest  ].  that
                t
poSsible Eo disctrss.-      me in touch with an HR-   rebreseniative
                                                      rebiesenrative
                                                   HR'rebiesentar-         as  soon  as
pos'sibIe       sctrss.- i neeq
                            neeo Lo Lalk Lo       before-ooino
                                                          going back
                                          Eo HR before-qoinq      baek LoL    uhe-iioc[
                                                                              Lhe docLor.
  T would lrke to sublnit a ney, ethics compi-aint, or update py existinq one, based
Qn E.he informaE,ion that has beerr-ungovgrEd since I wiote t.h6 oriqiiil            reporc.
My lgp;cp Bo longgr workg and a-1. of-t,he informat;on I -need_t.o wii:e the"-new
E?,lpl?fpt_lt-on   Ehere.
booknark Eo the eEhics ei:e J is'on my laptop Eoo.
                              can_pfpbably-get_mosE    of   it  down  from memory Eu't my
thanks
Ken
USEF-Ch:-rsty
Redacted
                     Gliori DATE-a9/A6/78 TIME-10:11 :57    CDT

USER-Christy Glicri DATE-09/06/1,8 TIME-10 :11:l-7 CDT
Rcd JD and PD and senL for Eile.
I will FU nexc wk t,o have LTD senc a6 needed in caee he is unable ro rtu.
usER.-chriscy Gl=iori DATE-Q9105/ 18 TIME-10:05:L1 CDT
IC ;p pt proviQer Ka{a f,{ulf igair ac 530.4!6-8299 and gpoke to suaf f . 4sked ro
speaK to provicie:'and she  islwith a patlent- l"eave af1 rny contacc   info and:hat
f-need t.o-speak to her.regarding pE behavior chaL is e ur'rently concerning.
WilI       FU   on this as wel.l-.




                                                                               NOKIA 000078
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Sent. response tro pt tso ple sEartr by havinq provider complete t.he rtrb, assessment
and incitrde the limications he wouid like-a-ccommodated.'
      Disability Medical    NoEes.  for _Kennqt.h .DeI Signore
                                                           -      , Cg9-?B-0030
                                Prin'-ed z oz/zl /t9
USER-Christy Gliori DATE-09/06/LA TIME- 09 :23:29 CDT
T9_yi!l.,pE                                        h?, iS doins         he Erares rhar Ehey
 "canceliecl Y?:trgf9ey_P1!/18:_}:l!ea_pt-k-'o,
              hrs creclenttals Eeclay" sg.he car_r't log in. end   He sta:es t.hat he can irow
I'get the a**holes"    that. are doiig th-is Eo him. H6 stat.ei EhaE-,thiivn iriv sEitf--'
liy tg buy    hiq out buE.he_now haE.''Ehem'r.     when aeked who he-iefeii6a
          hE refprs -to his last emqil- and the April fools joke-          -tte-sEitei
                                                                                    c-6 as
."FhFy",
that-gUy is behind     everyEhing         they got  :e'me
                                                                                        Ei:at
He l'lnihks" the quys name is-Clris and                      too.
                                           but
      t him to s.troF 6ending emails". I asked            st.ates  that  Cnristy t.old,'vou,,to
                                               lhqnifbethls-wis-a-difEe;;;t
''tcfstptes  no, hq-rneant             I- advised  him  r  do
                                                                                  cfrilsud-Ind--
                                                                    tnow-i-Soiiva-5n3-that"i
[e                          ']$onya".
kney.t he ryas sending emai!_4ue.
                                                               noE
                                                 reports a4o HB ItA who totd me,'sendinq
                                                                   in ani--capiciuV, i
                                    Eo fris- gwn
expl+ined agrin. t.haE on__srD, he shourd      noc be working
emEils' or Ehow.iltfl.iEr,r'i"[Eo35fiE
because he has                              ih 5t]] ??"*n[f;:'I";":r iB.*BXE f;:rgni*i36uflr"
was -sent. !o-''rlbu .him be6ause wnen hg.worked for LGS 10 vrs-iqo, -tiiev-iisiiii-to'---
senC april-   fools jokes. I'get  nor,r _"has him,'- and linked-in-wilI Ee+6 [i;'rF-Ioai6ss
eo-he -qan l.ogate him and-He         t,lre a** holet'. Asked it he feels t.hts-j.i-aI-I-----
IeleEgq   apd  hg  q!?!gs  1-ep,.-!{e
pursulnq nrs protecE so [nev can      chinkp that.Eney are tiyins io-keep-Eim-riom
                                           ma.Ke b1l110ns.
!!-f:pgf!s    chig i" Fig qnp'segms vFry frappy at this t1me. He calks exclc.edly
aboutr .nrs currenE Etatrus lcnowlnq what fre ,(nowE.
He. Ehinks Ehey will buy him off-so he will not become part oi a class actj-on law
AUIE.
I advised I am-calIj=ng for a personai email so I can send hirn STD caperwork rtw
assessments and we di5cusse{.tvhat these are etc. [Ie gave kendelsigho?eogmaif.com
Sent. RTW assessmenL forms Ehis morninq.
Pt   also states E.haE fie feels his mgr dnd ocher "pecple" are behind al-I his
lSSlreS.
Asked hio io FU with his forms so we can discuss his rtw concerns etc.
Todav rcd:
Hi Christv.'r'I1 qet
     Ehanksi            t.hese f il-1ed out..
   Can you fofwartl   my cell number 530 346 2993 to t.he HR conE.acE fro;n fridav'uvand
ask her to give me a call'-o discuss my concerns about. returninc to work.
qtlllcqrn is Etrat-I am in.posqessiorr_of informaLign regarding an EEcempcea Srei
frauC in che telecommunibations inciustry and I hawe 6ome w6rk re1at.eE eafeEy
concerns.
thanks
Ken


                              Redacted




                                                                             NOKTA 000079
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       Disability- MedicaL Not.es. for -Kenneth .Der si_gnore ,                4gg-78 -0030
                               printed.   O7/Z-|/L9 '
 p!!R;Christy Gliori DATE -09/as/LB TIME-15:15:00 CDT
 KCO ITOM ITIQTIIT:
Than!  yog.for t.he update Christ,i/.
Ken De1 siqnore wad-fn-Eh;--EnIIaing yqsterday. I{e. can ro see me Eo ask _f r
would be wi11ins. lg_ltggi.trlm-to-lii ftN-r;4il*in eiiErrSfiii.-Eo. r.,orher MN ream
membp4 !.har was-inceresred
 I told him:                   in worEin!f'wiIH"'mi"L;a;'.'*"r='"
 :l      That a trade is verv unlikelv
 ::      I have no abJ-Iily r.6 tuaFoii2e such a rrade
         Mv Directgr_would have-fo-afi7ie-Iici
"He said okay                                    approve any such trade
r really hateand   left.---- ----
               no intent on fol-lowing up on Ehis, iL does noL sound feasj-ble.
As r stated. vour updaE.e helps me bett.er undersLand the srtuation.
Thank vou
Dave Sfrvder
Fhone: '33l- ZO4-3644
HA is cc'd on this and  i did advise r will ler him know he should not be irr the
building under stO 5s--weffl-
V-SER-Chlisry Gliori DATE- 09/OSllg TIIIE_13 :03 :53 CDT
Rcd  confirmieion EEaE--iEcesb-[iii be"Eui;il-off . --^
DSR sent. FU with pr as needed-5na-pei-i;;f enaiy.
USER;Christy Cliori DATE-09 /05/lB TItvIE-1 0 : 59 : 30 CDT
Rcd from 'ot':
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/ /qbo:-oneer^com/wp-content/up1oad,s/zo:la/08/complete-2018-vol-3-of-4-TeLe-Topics-
pDF.   Fdf
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 or   t.heir                                      X;I.";iriiEiin;. "*"ii"Errannon were
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                                                            E-h"rr currqnl boiEsl-"F:6lrg;;         FT6x,      or
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   had an anxiety       att.ack  ana  Ehe-mo
                        giEliili"5ai3E"'J3:iE                                        3   quiok     hours
 l.lily.gl  ;y^fi['5i
   hrough_ my    HR disability     advocate         *3yl='3sEii frl*'38"3.33
 !.!lgggl^*y-_HB-Elsabilirv--iavijJaC".-te;;i'=-;rEii              fi'I*"t5*;c6p 3=HH]
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                      wilr
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every6ne,br,
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                                    authorized_thaE.                      i-set'5nd-ilnEijii6,t"ii--.
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                                  canick-ino and pushinq       Ch                             me -     Later
   he Nokia
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               iawwers-iEacfie3-';;r--;;F
               iawver$-ieqcfreE-6;E'-;iid
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                    Just  ouessins. i t ivbuid FioEaBIt coveraqe             holes on-Ehe laroe
audits.     but   would   impiote:'                            r;k;^ 5=moiifr1'on.
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-speed t6st drive                                                    Efrei ;;ii;r    relarive       r.o rherr
                         Eeit' coGt l--
   could also               -200 meter precision using signal strength
               right?- with
Eriangulation,use
We                PCMD

Ken


I have to admit., thi-s is a good apr:. 1 fools day joke:




                                                                                            NOKTA 000080
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At.t,ached -to tltis is a Lrnked in page screenshot    thal contains an    LGS   inquiry to
pt for iob interviex purDoses-
this sh6ws no indlcation-of anv "ioke,,.
                                      Redacted
TC.Eo HoIIy {. witil t.his rqqueFt and shq wi*l follow up-.- I.wil} send ouE neu,         c1C
and requesL for updated rnedfcal statue for employee. tfiIl include-iEw---
assessxient,s as wel1.

      Disability Medical Notesrl?IdT"62i|\           sisrore, {ee-78-0030
                                               t#,
USER-Christv Gl iori D.ATE- 08 / 7l /78 TIME-11:07:37 CDI
Rcd email ftom IIR confrrminb thar che compiiance case oD ened     ed bv thi.s
                                                                           tshis eee is now
closad. HA in HR confirms E6at the ee continues to ernail invesL'oaLors
                                                                   nvest:-gaLors and olher
ee's regardinct his issues even l-houqh he has been asked
Advised-he sh5uld not. be comnunica Eing with anyone while Eo       st,oD.
                                                                  under'STD and I wi.Ll FU
with him to confirm.
     tro pL-630-346               asked how he is doinq. He immediatelv
Tq
digguq-s legel- ani-2993-aBd
                        ryork isspee agaln- He also {id coufirm Ee-aai/ beqins      Lo
                                                                           pi6n-idei-and
wrli drop 6ff the form to her E5 have it comple:ed and recurnea.L--------
He sEace-s that his igsues are'still         not resblvedn and -ona-innAs Lo go i"nLc
det ail aqar.n about his uncovering of some issues.
Advised him aqralI Lhar Eheee are-seperate         issues and that I need him to
concentrate c6 his reasons Eor STD .and that they caanot         Ee-relat.eil-Co-Eis legal
f indinqs et.c.
              he ha-s c,urned Ehi-s over Lo.a lawer-ano.he reports that no one will
touch if
Askeg    it. tle alse   gtatqs that his sister
to be che Lead plainciff i. a class actionLold.him'noE
                                                    suiE.
                                                                Eo pufsuei;-oEiier--Eirms or
Pq   sE,aE,es"thac [9 has only one,otheg. gption anC he has sent a proposa)
" rnte:-na-l lv to ciirecLorsrr- and is waiti-no t.o hear.
Mvised hift rha; I heard from HR and thEt he i:as been sendinq ernails erc-
Advised     that under STD, ::e should not be workinq in any capadiEt and ihould rot
be. communlqaEing w!Eh co-workers qr others durifiq this'timb. poir:ted out Ehai--
oEhers will noc-undersuand chac if he can do trhiE, he should be workino.
            if he shouid open-a new EP-case since he has more compleee inf5 Advi.sed
He askspursue:his
he may                   as he feeis needed but do noE. know if uh:s-will heLo.
PE.albo-st,aE,e6 that ot,her employeers are ''reaching ouc t,otr him ar:ci he is not
iniciaE:nq the contact
Advised hE noc respond or send anv furEher comr:unieaEion.
Discussed exp of bEnefies and terfr. He asks i:ow l{C wnrks and if he can do chis.
Discussed WC'at length and he lhinks he rnay report WC co ng*t-as woili--relaciid-
sEress.
Xe aleo asks ttotr rnuqh he can make galarlr under XC. Discussed exp of benefits
regardless      of WC and thac chey would make any deEermination cf hny conpensaiion.
I liill FU as needed
Email to mqmc to pls send me a copy of JD and PD. I will send LTD to pt and
discusg this as n-eeded. NiIl also-FU wich irirn regarding any oLher issires relared
co hoalctr.
TC lo HB a?d -diecussed cage as well. Advi.sed t,hat pE,- may nged to have internal
access    denied during STD if he continues not t-o cchply i,r:-rh-ieque-E noE--En
gommunicaLe.
?ossible NP IME.
                    Redacted




                                                                           NOK|A 000081
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        Disability Medical l0oresi[BEdT"6D7E)               sisnore,     4ss-zB-0030
                                                      f$,
gsER-chrisry Gliorj- DATI-o8/28/Le Tr$E- t2 :24 :a4 cDT
Rcd respons6
      resoonsE,
Hi Chri'stv. '
   The lawt'6rs reached ouL to me {gr a f inal meeting ?f ter
to tzou that the                                                                -(r chink) -I men6ioned
irf"i*
iH"Y"il: _ii*B'
this
tlris-  bv'ccino
        bv -ccins
                   : EE E i llni
                   rfrl,emnil
                   EhE    email
                                 nBBEfi"I    ),
             ii+5rikfiig-i'id;:litilir*.i,ilit-i;,n:g:lri1:irr:iliiin":fn[L:5$'
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                                  ici-riiant-otii;;3"'iliiE'i"-u6e.    siilFi*y.' r mav
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                                                                               bevond
                                                                                    Iy have update
                                                                                fu11y
                                                                            opeful
soon
Thanks
Van

FU    if nothing   new rcd.
USER-Chrisgy eliori
    ema:l riom.pE EoDATE   -08 /29lt 8 .TIME-11 :25 :09 CDT
Rcd
isques. sent this for ncmr-oh-B/'1/ie"EhiE'i6p5it5"info
                       -fiIe.--                             on              his regat    and work
Rcd:
Hi christv.
  ic turnb ouE' rhe plot chickens, a loE.               Neeo   to talk    when you have time.
?hanks
Ken
530 346 2993
        pe1 Signore, Kennerh^ !N9k1a - pSlNaperville)
Ilgp:! _'I'uesday,
senE               AuqusL 21, , 2 016 3 :26 pM
To.: .CIiori, ChrisEi- Iuokia-:-fSi'.-friisry.gliorionokia.              com>
SubjecL: airoLher chat.
lii 'rhe
      Christv.
                   qoE bacs Eo me atter -six weeks. Thgy have reverFed what. ihey
eartierlar.'r(zers
          r61d mE, whrch i-rrid elieiav-is;iiliia,   r"r'It'li*ir." Lo
                                                                     -i knqw.
  r 've oot ar appci ntment set. f oi thuiid5v-r,rirE-irr"Iry7p"€EIc    iiaiE'=".r, bef ore
 rf  vou-have tiin'e. r woura-Iite'.Lo-UouEir"6aie'req;'idifi; Eiil; ip;5'iIni=i.'isir.
Thanks
Ken
-ient   f o1 I owi ng ema j, 1 response :
Hi  Ken,
As r have said before, l cannot be involved i5r the work or.]egal Lssues           --"""" chac yo-1
have    spgken of since riry focus-it-[olii-is-he51t6";na-DisI6illEi:
'Io consld.er
 (hopefullv Kara   a re:url    lo i,rork, I neg{ qlvei-i-rer;;ii-'C6-wo;ii
                                    -that-wijuld to have Cccumentaaion-f;odr-a provider
limi-auiohs iike Mu]liqAn)
                         wq hdve' discussed-.i_r,-Etre   6ast.
                                                                           a;te 5n5'Ii6iI&"
rf we are to consider any limiEaii-on3-, -tEe!-m[st             conEain a duralion and medical  "ny
reason.
r wilL watch for anv rerease informalign               to come thpough as soon as you are abLe
to,set     Fh=p.yoironce r'have.t,his, I wirl forloe,-ii-rlt[-odi       IEcSililijaIEiSiI fi.r.""=
a+d - conlagt          f or . qny de-tai 1s e:-c
                                             .
Prease le[ ]'ne ](now rt you have any questions about this release or other meciical
issues.
Lgok_ forwar.i Lo workinq with vou on a reLease rrLan.
I}tnf-you       sD much and Ecpe yotr are aoing-wel1,'----'
Lnr l sE.y
USER-Christv     Gliori DATE-Oe/tA/28      TrME-11 :13   :20   CD?


                                     Redacted




                                                                                    NOK|A 000082
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                                                                                        4se- 7s - 003   0

,,"., :::::::'::. :::':::"'"":i:ii:.;:i:?::,?.:'                           .:':::'"'
                                               Redacted
pSER-Christy Glrori DATE-08/09/tB TIME-09                       : 08 :03 CDT
LeqC chartrng rnterrupted by phone.
Addendum -
ft,_then     advises that he has 2 Whistleb]ower cases Ehat could cause the ]oss of
 i ob.
 1,
 I, He
     Hg        involved-in a
     I was Lnvolved-tn                 qase wlEh
                                  A qaFe            Sprlnt in
                                            wiEh Sprlnt         rn w}_rich hj.s  his D Level Level asked him to lie       lie
t.o tle
ro    cne custqmer.
           custsmes.
           custon          Also   had
                                  h4d    kpowledge'of
                                         kpowledqe'of       other
                                                            o!he5       Iies.
                                                                        Iies.-IUe-wai
                                                                                  -IUe-wai        IaiE*ijEF;nA;;
                                                                                                  Ia:-E*ijEF     ;nA ;; [iI
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month
monlh     period, he was offered a
      th period,                                id{moEioni--EnaE-[e'diii-noE-accepc.
                                            a'idEmoEion"          unat     tre'diii-nciE-a66epc.             He had rurned
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      rap'!op.         eyentually
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                                         accepted- E[e-duriiinE
                                                     the    current        posit
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Zl The cuirent situation.
He repgrts that. his lawye-r siFte4, had oriqinally adyised him to obtain lecaj
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dong -from home buE he dSes nor,fupl {apaure
buildinq as Ehe people who miqht. be filed. oi'comfolcli:IE-6Eiie'iil E[ij"Eame
v[q disclssed liqitTtigns/restiiq!1ons                    and th4t. 1 -can enly address this concern
+f hip.provider,/s. feel it is me_{i-arly-rieedeia.                        Aavl-s-ed--frim*6E-Efris"iji5.;;;-;na
                                               He then mentj-ons that "thg _compa4y_r.nat UE-*lIf Ing
!9   Ii-r-1 !p935.Fo_l_1P
lg_gly:.1 a
                                 Provlder.
               gm31-r sum" tor him ro,ger-pyr ghg door. He woutd be^wi1]infr Eo
e4E-rc4in         1 yr salary and he miy then file suit.
Acivj.sed hir,r as-always th4E -I -only'handle inedical STD needs and am no; involved
in:hg lPsal aspect'bgt r did ar6rt him rhat-i-ieaiEeii-ouE Eii-mv"'r'eiiit^ieb ro
see It she haci any info on the person he had been working with,'dua-ao                                              hi-s email
to me reqardinq c6ntact
r.WfII FO once"r have any documentaEion wiLh any accommodaEion needs for rt.w and
                                     -

will discuss this as needed.
USER-ChrisEy GIiori DATE-08/09l18
                               DATE-08/09lrA TIM   tf},te-09 :01 :11 CDT
TC
IC   to
     !9.  pt anA
              and dlscussed          siluatibp aoai
                                     situaLi-bn
                    discussed sit.uaLibn          again.
                                                  aoain- PE  Pt does nor     not separare his med/mentaj
heaith- issues
is not            s  from tlat
                     from.    that    oi
                                      o_f his
                                          hig  leo51
                                               !e951     posi!ion.         He tell'a ma irraE-tre-nbi'Iiivei ire
15   not hearing
           nearLnq b+gk        from legal foi sqireral reasons. One being
                       back rrom                                                                      that
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prevented
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               rrgm
               Irpm    f iling a
                       filing
                       rl_rLncJ   a glaim
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                                                               is qiven
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   tates that  t he_-came.
           t.hat  he came uD   [p   with   a number since [E        hE_knew
                                                                          knew a  a .J-awyer       worr'l r]-isk
                                                                                       fawver woulct
                                                                                       lawyer
                                                                                       lawyer      would-ask       FA. a=
                                                                                                             asr( Ior
                                                                                                                   f6r
                           askeil ryiCh
                                    w                               hE
large amount.  nE. He asked
          amount.                   ffor hal-f
                                          half rrom
                                                 this.
                                                _this.    Thqy drd not answe
                                                          They                        rswett{cand
                                                                                  answet        a     said    he   must   now
work wlEn
worK
her but
hef
        with another
               anotrner womAn
               anc
             she  t
                            woman n lawyer
                                      lawyer frgm F Jrd
                                      lawver   f rom   a  ird-   party
                                                          3rd'pa5ty
                                                                 narl-w      r.rlmrrenlf
                                                                             companv.
                                                                             comDanv.
                                                                             company. lny..He He
                                                                                              He   began
                                                                                                   be        Eo. work lviqh
       buc     had "no idea of'any of E.he     the deta1Is"      --.1
                                                    det5ils{'of ot hi-E'si-CuaEl
                                                                      -1
                                                                     hrE                      g..
                                                                      Ls srEuation so he expiained
                                                                       ^t    ^5   L.:  ^' ^: expiain
qnd gave her a range       of setElefuents-  s - fnstead of qivinq that   ihif  ra
                                                                                ranqe  to  the  '
dqpaiLment, she weht wit.h Ehe hiqhest       est number-
                                                  number he !ave_
                                                                dave   End   that
                                                                       dnd _that   wds 3  wks  ago.
After
nr Ler one week,
       (Jlre wcertr he  rldql asked
                    rre had            for-unriaLe
                              aske{ r[.)r    pciat.e
                                       for-update    anc[ has   fiot
                                                          nas iot     heerri
                                                                nOE heard      h:r
He-states t.hat , now, he Jnust {r: ttplah B" and
                              dttite(l      uF)cIaLe and  h.as        J]eafo back.
                                                                               baqk.
                                                                               DaCK.
                                                        return to work. Before he digcusses
this, he
this,  he aadvises that he had




                                                                                                       NOKrA_000083
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      Disabilr-ty Medical Notesr:?IdT"gi7E9
                                                      iB, signore, 4ee- 78-0030
Us{x,:chriscy    Gliori DATE-08/A6/tB TIME-1"5 :53 :53 eDT
Rcd  from ot':
Hi ChristV,
Hi_ghrist?,
        comianv lawyers
  The comiany                thal f was workinq
                  1 awyers thaL          workinc with have sEopped
                                                               sEop      resoondinq EC  tro me.
We had aq-reea    to a
         aq'reed Eo    i Eermipaqlo:l  aqreemenE. 'r'ne
                         cerminatlon ag.reemg4E..    The lasc meb
                                                                neec].ng  we'had
                                                                          wg          s. rluly
                                                                                   wds.J
                                                                                   uras.LIuIy
where thEv
company.
              t.ord
           -They have
                    . me thev
                         they
                          not
                               had  to teke
                                       tEke
                                          to
                                             this
                                              a
                                                   to
                                                    o another   FebFinSlEvel
                                                                hiclh-IEveI
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                                                                hicr          liruviii-ini n -Ehe-20th
                                                                              had
                                                                              Iaruvei-             - --'
99!PllY:,  ,I'!ey,
Irm-thlnking
                               regponded
                               reaponded -to.
                    !-av_q_lop_{g8PPnded_to.
                                  -ehanoed
                             have -changed
                                  -chanqed    a.subaeguenE
                                              a. subsequenc
                                                    aeguenE. stat.fis
                                                             stacfi
                                                             staE_[s
                                                             s_tacfis request.
                                                                      requestr   oir Jul
                                                                                     lu1 3oEh,
                                                                      iEquesE-ofr-jui'-      3OEh, so
Irm-chlnkinq        ey marz
                 Lhey
                 Lhew   mav have
                        may                their
                                           their minds
                                                   minds  nn Ehe
                                                    Inct6 on
                                                          0n       termiriat-ion-ioieEm
                                                             rha cermifacion-agieement.'
                                                             trhe
                                                             trne  t
                                                                   E.ermlnat.ron  aqreement.
  Sq lhis means thar f am goirrq to have t.o return Eo rrlork.             I am also going t.o
be filing a federal whistl6blo*er ret.aliation lawsuic.
  If you have Lime, I,d like :a discuss Beveral concerns I have about ret.urning
to wolk-
Thanks
Ken
630 345 2993
                                           Redacted
Ematl co pt that I wi.Ll dontact him t.omorrow. Rffi
USER-Christy Gliori DATE- OB/ 02lLB I'IME-L2 :05:05 CDT'
Te Eo Ken oir 630-346-2993 4nd }eave VM with conLacL rnfo on qeneric svstem and
pIs cal]  co discusq updaced recovery. and-rtw inferrnaiion. AaVised-i iete-iried-icaf
lhat  only gupported through next weBk and we need    a rtw ciate or nely
documenEat rorl etc   .
PIs call ASAp. I will fU if no response.
USER-ChrisLy Gliori DATE-07 /2? /LB TIME-L4 :t7 :47 CDT
TQ t.o 6gn oir.53c-348-2993 and leave vM wiEh conE,act info on seneric system and
pJ.s call r.rltb ax update on your status and recove=y. FU if n6 conEacl'oi-
resPonse.
USER-Christy    Gl iori DATE- 07 /17 / Lg TIME-LO:2'7:36 CDI
IlpdaEe qiveir t.o KaEv K in :IR per     requesE, Advlsed no rEw release yer.
Ftt as nEeded fcr any updaee. ^
USER-Cl"rrisE\/ Gliori DATE- 07 /L3,/rg rrur -L2:51 224 CDT
Rcd.email to pls call to t.alk. TC to him and he mostly discussed            hjs
aqain. He st.aLes t.haL he is doinqrrway beLLerrrand fe61s like na 2i IElecral           case
                                                                                    6a haa--
b6en liiEed off his ehoulderg".
Pt stales that he thinks co-worker Breat B could also file su-te bur i-s out on
STD :1ow for oE.her reagons and does not think he will buu he qoes on E.o aqaln
e;pla_i5r                                qgrk issues - He efr.apes chat-he. wiII
with HR frls
          leqal!eelipgs -surroupdrng
                 on M6nday  Lo beqin discussinq a possible neqotiatioi: of-be.
                                                                                     fieeLrng
                                                                                   his exrr-
from che e5mpany. He i-s very happy wit.h Ehis ahd hopeful.-He staEes E.hat it is
complex and he ircatses he will bb^ 6hanqincr his caree} due to t.Lrie. lle rclans co
t3kb g ygar-of -classes. fo bpcome a highs.chooL.ggacfrer.. ]iepart
that he-feels due to this change, LhaE thjs wilI aiso be has of;is       PtlD. in Fhyeiqs and
                                                                                  ne&otiarion
since he nknows whac he could 6ef" from a law suit and chbre are "pIenLV of
ambuJance chasers" EhaE would Eake his case. He also "fiqured ouE,''hcw his
pro'i ect could have been "ki l1edn in the way ii: was since-4 vrs aclo. bel- I abs
had-already done it and uhey       did noE more torward but he wa3 nev6r''riust Eoli"
t.haE it wa3 "cancelled". If-Lba! was Ehe case, he feele he would noE-be in this
posiEion.
pE did notHe    conLinues Eo call it a "whistle blower" case.
             allow me to diecuse hie medical,       by consEanEly referrino back to :is
case brrt T was able to ask him abouE rtw. He States that'if the neootiation oces
noL wcrk, he would have !q rLw and reguest working from horne.
FU as needed-




                                                                                    NOKTA 000084
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           Dlsability Medical NoEesiI?IdT"Biii+                  sisnore,    4ee-78 -0030
                                                          ir1r
USERrChristy Gliori DATE- 07 / L2 / tg TIME-14 t26:24 CDT
Email to, pE,' Lo . recruest an udpate on date of NOV and status.
progressihq                                                    aCus. Asked if he 1S
               and do'inq better'. Per last documeqtation, p!  pt should_    be able to rtw
                                                                    shoul-d_ b
at NOV and-if not, hE musE begin too see providers more    moie- frequently.
USER-Chri c EyVUG lioor1 DATE- o7 /lo/LB TrME-10:40:43 CDT
TC to Ken onir66 30--3445 -2993 ahd leave VIvl with cont act info on qeneri.c svscem and
advised h i off paayrro 11 issue that he miqht be af fec ted. AdviEed if he'is. he
will see a mn ovV erppayym enE t.his check which will be ta ken back on '7/3:-/fi pay.
Also aske d tthaa L fre p Is call with a sEatus undaEe on q].s progress 1n recovery
          I eaase AdvV1 sed him again of what i's nee ded Ior a release to rtw w or
t.oward release.
w/o resEriction.
FU if no resDons
          response.
U$ER-Ch4iqt.y Gliori DATE*01 /a9/La TIME-11 : 05 ;20 CDT
Afso rcd frbm pE:
Hi Chlisty,
     Did
      u].o.you  get tne.seco4c
            you geE                 form,
                     t.he second rorm,      the
                                        mr Ene
                                            Ehe            claimants statement?
                                                    STD claJ-mants
                                                    s'1'1J             sEat         ?
   II- think that
-feels               I fiqured out the
               thaE J.                  the underlyinq
                                               underlvinq cause of
                                               updgrlying_caUse            t
                                                                           the
                                                                           the   sicuation
                                                                                 sicuation
                                                                                   tuation           i
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gince
          like  a 20Ib wEight
                  201b                          lifted
                          wEiqht has been l-ifted
                                                ]ifted      olf
                                                            off  of  Uy head
                                                                 of-mv-hea
                                                                 of-mv-heaa-cEaE-Eas-5e6n-cfr6
                                                                               chaE    has been   there
Sr-rrue   .lan. proceed
          .Tqn.
since uar!.       It
                  rL   is da Eomewhat
                       iq
                       rE-               cgmpJex
                                         cgmP+ex
                             s()rnewrrdL_gggp+gx        problem ar-r+'
                                                        problegr.ana'Noki;
                                         compfex pro.E)l-ep.an€t
                                                        problem.  ana'Uolii
                                                                       No$ia
                                                                       NoKla          be
                                                                               miv-Uij-exposiia-td
                                                                               may
                                                                               may. De   e4pop{d_ro-Iarge
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                                                                                         --s5-IE-r-i    l.arg
fines
f ines if r.
to work, the
tp
              f progeed_wilh
                           with a whistLeblowe?
                                    whistl"eblowe?         reEaljation-1i
                                        sE.J-ehl.ower reealiation-1iw
                                                           ret.alJat ron raw   sult . --s5-IE-r
                                                                               Stiitl-
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                                                                                               LI 1 rerrrrfi
                                                                                                     reeturn
              tha whiqtleblowgr
                  whistleblower suit wil,1 inuroduce ne\,v              constiainrs-
                                                                        constiainEs.
                                                                        constrainE.s.        I,m thin
                                                                                                  t nkino
                                                                                                  rr,T    ltg
that
EhAt rI would need tg.workto work fSom    horrne so as ntrt
                                    from horne               not l-o
                                                                  to have    inreiic.Fi.,n=--i'rh
                                                                        ve inEeiacfions-wi-r[-Fi"p
                                                                             interacLions     wiLh pe o-l e
relaled-wouidEo the ret.aliation law   aw sul_r.
                                          suit.          ror
                                                         For l_lEtrance,,
                                                               iDqE,ance,  the
                                                                           Ene  people
                                                                                people-'ri6o-AIti
                                                                                          who old
                                                                                          wno   did Ehe
                                                                                                     th
                                                                                                     the
ret.aliatipg are- in the same gampus   campus and fI q,ould             Lhem ih the
                                                            would see them               hallwavs- --
                                                                                   the-hallwavs.
    f'm worklnq this issue      e withh the
                                         the IIR      ombudsman, and iust
                                                iIR ombudsrnan,           iust.yranted to bring you up
Eo date. I{e can talk by phone
Thanks
                                            lfI you wanL fuicher deEiif.
                                       one if                             de[i
Ken
63A 346 2993
Rcd from mqmt:
Hi Christyi Ken copied me on an emarl with respect Eo him returninq to work.
I see uhaL he is t.rying to impose some condit.ibns on his return and I have some
concerns.
Ken.was working on en unauthorized.side.projeqt-for Ehe MobiLe NeEworks (MN)
Busj-ness I;_i_!_e_,-and.he was.not geEEing hi-s w6rk done for my team under the Nokra
Software   (NSw)     Business Line.
Iam                                                  ermission t.o \i/ork f rom home. Our Leam
does                                                 hand that sounds fine.
BUE a
dav.
                                                     in and colLaborate togeLher al-most every
Befor
see L                                                "working" from home a lot, and I did not
When                                                   or L2:00 and sometimes he would leave
be f or:
f real]v chink he needs to be in t.he office durinq stanoard working hours so he
can proberlv focus and collaborate wiEh his team fiembers.
I do- not seE how he should be concerneci about. runninq inLo oLher peqple chat
were associated with his other proiect. I4N is noE ifi our A isle. and E.hey may
not even be on our. floor, and his ivork has noching to do wi Lh MN It seEms to
me thaL Ken i.s trying t.o manipulaLe us a bit.
l wou1d be more than happy Lo discuss this with vou, but I saw that vou were
maSked Do Not Disturb oh- 1{, so f am writing thiE email to share my toncerns
before any promises are made to Ken.
Thank you for your help and consideracion in this matter.




                                                                                           NOKTA 000085
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 Dave Snyder
 wrlI discuss all as needed. Advised pt that a1r docurnentarion is rcd.
       Disability Medical NoLesiIpIdT"B\78\ prgt sisnore,       Ass_78 - 0030
 qsER-Christ.y GIio{i DATE_
                         ----- o7 /og/ 18 TrME_ 10:48:08 CDT
 CImL st.at.em6nt rcdi
          injury.due
 In].s ].ntormation isto ciocumented
 9Ffesq                   retaLiation.
                                       in eEhics complaint
 AiHEi"ISartiared    againsr   iii-rwo--defieiiEE ;E'iE[iE"Eror". incidenEs causing great
 I'BH H*ftETt"g ro resumre work while Iega1 acrion is pending. r wil I need to wor:k
 When? Depends on remediarion.
Will   FUwith pt as needed.
usER-Chriscy eliori DATE- o7 /05/18 TrME-l-t:48 :24 CDT
}(Cd:
Hi Christv.
   I heard'back 5rom.Fhg corporaE.e lawyers.
lsmlfrti:o="i.si,"irhsiy"E5Yfis ro ensisa , ci,If&=p5?Ev"?1,'F:,il=iHE"FirA            u*E
   For mv-disau'fi3Eua.3."*
may com1]lleate               f"gf,BfrE"r.IgEu5"uEB.B?'x"EB?Br",h?HE"si EilE 3il,fixilB.
after this week.
Thanks
Ken
FU PRN-
USER-Chrisry Gli_ori DATE-07 /OS/rs ffMA_11:26:29      CDT
0l-0 Rcd:
Adjuscmen: n/o wich mixed feaEures.
*l1lglyr    Depressr.on, Recuring
                                - Ehoughr s,
NlalnLal_nS
          _
             COnE,rO-L: 3
ConcenLraEes: 3
 In!.eracEs sufficientlv: 3
Others 0 and 2_
D_ufation of limitatj_ons : ongoing
NOV 1 month
Zoloft 5Omc, Xanex
Expecled rEw: unknown
Srgned by K Mulligan pE-O
SenE email upo4ce to pE Enar th_is rs rcd and to conslder rtw, I will
l'e-l eaee w or w,/o resE.ri.ctions.                                            need    a
4F_keci if he wotrid i iliA- [o-diScuss via phone today.
FU PRN.
gSER-Christy Gliori DATE-oG/27 /18 TrME_10:32 :58      CDT
Rcd:
 Hi Crisrv,
    Missed'vorr r:al I. I received t.he paperwo_rk
 j'ast                                             -in thq mail che -same
       week'. r heve a-secona'anpoiitfi6fiE-sEfrAaui'ed^'For"tom5iro!,     day we talked
rKensaw.                                                                w_rrh the N/p rhac
          r wirr have rhe papeiil-oi[-';dmilieE;A-ifrd-iliii'=EXii"ir uacx
Advi.sed him I will_ waLch for documentation and     FU.
DocumentaEion must covei iiom-FDA. -----




                                                                          NOK|A 000086
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      DisabiliLy Medical No.esr[e5dT"g\i54               sisnore, lee-78-0030
                                                 fi.r,
qSER-Chrisry GIiori DATE-0G/20/LB TIME-L2:33:20 CDT
Also rcd:
lii_Chriety,.
    r ?m,wait.ing for-the EB rawygr tp get_back Eo nre resardinq twc ethics
conDrarnEs     1 roclged. I'm hoplng be acl-e to come back to w5rk soon when I get
their results.
    :':Tr at 530 3&6 2993. l neverrsaw any forms in rhe mail , but I did go for a
clinical appoinEment     as diseussed-
thanks
Ken
9Fn!'
HI KEN,
Here is whac I sent. ouE, 1n     the rnaiL.
                               providei
L9g_lggd^!bg_H91]rlcare                  form eornpleEed by your docror and also Ehe
clalmant
Claimant statement from vou.
You really should not return
tou                         returr to work until
                                             untio you are released Ifrom a doctor. I
don't qivewant ehat Uo- linge
        qrve you a call        on      ouEcom?_ of
                                  E.he ouEcome         cs complaints.
                                                   Echics comnlaints
 I'-J.1 give
 f'11
 I'.1
'I'ar(e             caLl s5on
                           goon so
                                eo we can iiLt-nroie,
                                            talk
        care.
Take 6are
Christv
senE Ehe
SenE    t.he above prior co Last converaacion wich pc and inicia: package was
aEtached.
IiSER-Chrinfw Gi iori    DATE:-06/2nlt I TTME-tO:10:iB    CD?
                                         Redacted
!C-to    pt gn 630-345-2991 and fre reporEs.that he'did eee a provider who is ar. Np
a le!.l, weeks agg. Hg .repgrts. thae it took time to find somebne 5ui-he--did-fii.a]iv
get  rn and wj"IL stick with her..He    t.hen repoft.s that the',qeaf i w:Ch [i; e6;;;;a
ls  tnat he submitted an EP compl4ilt_el9_qpoke-to-       nis sistei-who'.II'-a"-5rp
                                                                          iSeieiEi
lawyer. the__co]d him Eo get outside_ counsel aad-Ehei-iE-ffit-be";
cornplal-nt. He spoke a]so-Eo Ehe EP Iegal_!,{hq Eold rim t.hey-woutd woif-on cnis
3*9_SeE_Dack-tro   rrr.m. 2 weeks ago, ehe cal--led t.c s?y FhFy irg sE.ili working on
this, He st,aEes. he rlgulf, Iike lo'continue   his projEct hbre-6uE-IE-rilG'-is- nor
possibie,    then he wilI leive-tha aomaeiit: ---
f again disquFsqd-qhac sTD is abogc-hnd-EhaL he cannoL use StD tor waj-uincr on Ep
cieclcions. Askcd if he -wae Ereat.ed by the NP and if she dio-iii<e-Eim-out--3f-'- --
work. He.stateq yes. Advised      thac to_be eligible for srn, he-niuit--Ue tilien ouc
Dy.proYloqr-and supporEed wlEl: care tor med.:cal- o-r MH needs.      He said she will do
Lhr.E. He did rcv rnV-ernaif of 010 yesterday afLer he emailed Lo sav        iC was ncl
rcvd. He will take't.his in ASAP aid have it ie[urnea.".Es[ad If ;86 iEcofrileiiEea
therapy or any o:her treatmenE and he states no.
AdvisEd I will wai-t on E.his and call if not. rcd in one week. Likely this may be
a non cert situation.
Ust:R-Christ.y G*iori DATE- O6/L9/ 1B TIME -Lo =4 9:32 CDT
Tg E.o p! on- q30-346-2993 and fbave VM_ with              info on qeneric svstern and
pIs.ca1] to discuss details of your_absence.conEact.Advised nothind is-icd-and-i ea-
heed information Eo continue ceiL of absence. FU for one ncie:onEacE--atEenlt
and possible non cert.
USER-Chrisry
HCd:
               G*iori DATE-06/L8/iB TIME-10 :48 :43 CDT
:- I-'m at. 630 345 2993 whenever you can talk.
Thanks
Ken


                                    Redacted




                                                                            NOKTA_000087
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       Disahilit.y         Medical   Notses.for _Kenneth .DeI Sicrnore
                                                                 -     , 49g-TB-003CI
                                        PrinE.ed : 02 / 27 / 19

                                                Redacted
gF_ER-chrisry GIiori naqn-_oe ltzlt_B TrME- 10 : 59 r 15 CDT
!.u w]-E.n pE mgmE as needed also.
UqER-Christy Gliori DATE- 06/LZ1 1B TIME-10:55:12 CDT
TC Lo pt on-530-345-2993 and l.eave VM witE-qoqciEt info on personal svstem anci
prs  ca)-l- to discuss absence-and-paperiJoiil--advi-;ed-iri's_ SuEijnEE-EYiiSiri'iEirr in
ygry 1,a;e so he may see Fome issile-rv-iLE-C[i-s-:'EI;p iiifu-iEEii"Eo-aiEEi6s"Ex        er".
It  I do not answerl pls
                       "as  1g4ve 4 good.rime to reach       you.
                                                       -neii06. - Naad ro di;;u;;
documencaEion needs        well ano donf irm any-we
USER-Christy GIiori DATE-06/08/18 TIME -09 :27 :58 CDT
J, yis, unawa-re pt was out this whole timq si4cq.4t one point, he did send emarl
chat   his:ssue^s       being taker:. care of and did not-n'eed--issist-invloiidei.
rE appears now. were
                   he has beEn out. the entire cime anci-wil]-neea-Eo      ac;fitli.:il-bupport
of STD and anv'need for we-.
Letter and natkage sent. FU per last entry as wel)- regarding pay and STD
details
U SE R_ Chr ist v   G1 1  ori DATE-06/08/tB TIME -09 :25:28 CDT
U SE R. Chr ist
             pt v   G} ]- ori DATE-05/22/78 TIME-09:19 :4't CDT
R cd Lc r9m
H    Ch rls t'y,
  I l:= ve an initial consulE,atronatron
                           nsul.E,af. ]-on scheduled
                                           sc
                                           sc"hectutqq  tor next Thursdav.
                                                        for       Thursday, May 24th. lI found
t he
the   practrce= through a doctor's
                throuqh                    of ice
                                   Eorrs off        listed
                                               iqe_lisged   on the
                                                               rhe   HR  Erji:efiEg we6--6ice. His
                                                                     Hn bei-re
nurse.re-directed
nursE re-direcEed     ftre to an.associaEed
                      fte
              rected me         an
                                an.associated
                                    associa       fTcility
                                                  fgcility   that.  is set   up-witn-nuise
                                                                             up-wittr-nuiGe--
                                                                         -ooE-,^,ii
prggEiEioners rs and-physiat.rists.
                  and ohwsiatrisLs.
                           siat.rist    s.  The only
                                            T    onlv   qontact-inEo
                                                        contact  inf o r-qot'was,
                                                                       -
                                                                       l            ,' cri;5
                                                                                       aerra
It4ul1isan, 1sG0 wa11 6c. aniEA 304---N;pAfvit ra--ii s-ris6: =-
SenL response F.o remind hiU tha! he.will peed.his t=ime our supporred and tnah I
was not aware he     w4s out. of work this whole Eime. Advised ha-Ebllow--oiiqina]-
einail ip-structiop foy pgpt        to enEe{ his absence asAp d[E-cii-p;y^;;a 5ifrEi'-I3s"es
thr-s wr-Il- cause being late reported.
USER-Chriscv Glio ri DATE - 06 / 0 8/18 TrME- 09 : 25 : o2 cDT
USER-ChristV Glio ri DATE -05/1"7   /tB TIME- 09:0'/:34    CDT
Rcd a lonq Emaii from ee witil chroSrology      and strateg-y cn his business rssues.             He
asks, t.o t.hen go o ver thi s and speag_ Lo me. Sent response to him   that, this js
OUTS].CTC MV SCODE and wha t f can-tal_k wirh him abour-in relarion to his healih.
Also adviSed hirn TOFUW ith mgmt and possibly Ethics point as-needeii.




                                                                                   NOKTA 000088
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     Disabilit.y' Medical Notes. for -Kennqth .DeI Signore,
                                                     '      XXX-XX-XXXX
                             Printed : AZ /2'7 /19
USER-Christy Gliori DATE-06 /08/LA TIME-09 :24:29 CDT
Rcd from ee':
Hi Christv.
  I need to go-on sTB. I was gi.ven your email by IIR wit.h regard to this.                            r
ar 530 345  29%.                                                                                           am
Thanks
Ken
TC     to him and l-eave vM with conLact info and p1s call as needed or email again.
QSpg-Chrisry eliori          DATE-05/L5/18                :33 :27 CDT
qsE$-Chrlsty        tlom conversation withTrME-09
-i'-gl-1ovg.1ng 1s G!iori                          pt prior    bgt I did not
                                                                           ---- have his l_asL name:
'r'c trom DL on 630-346-2993 DArE-05/0e/ td rrlrle-I1;08, o2-cDr---
                                       and discussed_absenge. tie repcrts. rhat he            is ouc d/:
 "work     qelatsd stressi. pL-sl-5tes-Ea-;5;.
started workinq on a specific.project-EniE-Lfs          aoIng"Eii r;sui5l' j5u'tjtI 'i5 j8"5r.",          he
an "invenr.ion""whe_re chev woik'on'pippo-s-iis-'o[esla; ;r'Ei;  team  5qreeo'upon. He caLls"EHi="=
                                                                                offi"i"lil E;r=d.r.=
chat he worked on his owfi rime on thIE-eiEenElveiv-aid 'ifrEaiiiv'l"".ir,e-pi6FqEir
was submitted t.o the ar           confiiience-in-r'I-ril5;a-;;a'oil'C-or"if,oiiAna"'iri        EiErr_"u,
his was one of only z ahoaen.
*11-y*l!.9^!il_to         pprsue this and he adr4anced in chig.Eore and more until, for
no q:ven
he is unsure        il
               'u'=ot:.4!3=oB5"llrE'33;         Xi:5A$5;5fi"i8: Ig-+SEiiilfi"X;^;fifi;i6'tf,;t
menticns that it mav be a "coniiiuctive'ra_duCrion"l-HE-E;a-;;E-6een"io[iiig                           for
a. dif ferent iob- si-nlp-Ehis_m;t-ffi;e-Euined-i;io-;               ro'Ciri5ilar posirion
                                                               "Eiil"e";[;iE":ie-i              and now
                   puI 1ed,.    -                                                    - io[ "ijr*"*
!!?   !_ i!  was.
uncomtortab-l'e
                             he   Eeel s=ilnabi E  Eo--reEuiii
                     r:eople Eo be aroupd. He described tne inverreion io-mi ana seemed
1'goEtaor
proud          this-^ Pt-trren-sEitejE-tli;i     iie 6;;-;yrTriEoil's'-ot"iEiii6is*i5i aia-iE:_E' n*,=
            bail ouL, "
                      .

Asked--if -he has qeen a {octor and he sqaEes no. ge aqked about what to do for. wc
ecE. We discussed lrlC and srp. DiJ_cussed-pip"fi"rp--aild"If,"E"E.-Ue"6irl"r,E"wif f
pqed to bq under- ghe         caie of pEiEhlaEifsE-Sna"ErriirIfrIsi"Eir he may srarc w:rh
             if.he   wi]t  see him-nnEei-fiossl6Ia we: Ei;;-Ei;;u;;Ea"ir,"fit
rnvest.rsation. Discussed dif feren'ce-!gE*"er,-ju-dE-Er6-EiiE"5na-wc.'- ;;e'-
I,ir_pgp                                                                                   -..-
                                                                                                   I


He asreEs to qet an appt ASAP-anci-wiII-6iIt diE-'iiirr"rETE] 6iEciiised paperwork
al-so-and ir n6.Tg':^ilfg,_I qit-L-rQ-wi.-cE-_frIn neiir-"ir"ror'"fr';FA;E;: FE";;i..=.
will discuss        rh:s case wirh tAB-and poi-siljiiJ riR-'a;; i[Eaeii a1so.
1 did discuss case wirh JAs.
Rcd followinq from pt E.oday:
Hi Christv.
    lm look.ing aq physiatrists.that -take my health.insurance. There are noc many
near. me, buE".r do's6e,pqopl;-risEEa-a'=--            p'=vAtlirri6"il"i3ii"i.aciiEiEnE;;.'^'
you kncw' if Ehe practiLiohers 5re accepE5bla--foi-ine"IpiSifiEme;r-ti;"diScusseo?Do
                                                                                                           -

Thanks
Ken
4€vised him-yes, rhis is flne.
FU as needed--

uee pL vtsl-t Gliori_DATE-
!=SER-Chrisry               oG/oB/ iB TIME -a9 :22:40 CDT
               notes tor Hx. Moqt eqtgfed     very 1qce sg rhis wiIJ.,be overpayrxenc
siiuhtion.
and overpay.
             r wiLl  FU with pC-'f-or--frll1-cuiiEic-dEEaiis-ifiE Io or-="rss paperwork




                                                                                      NOKrA_000089
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     Disability Medical NotesiIBEdT.gBTE\                    sisnore, 4ee-ta-0030
                                                   fi1,
usER-Healrhhteb DATE- 06 /08/te TIME-08 :59 :28 CDT
Created via-gn1i4e absbncb noLificat.ion. The-following information was entered
int.o the online form:
First Dav Abs                 5 /7 /20:-8
                              Kbnireth has told me that. he ls goinq on disability
Employee UPI. .               PAo014982
Embloyee Name                 DEL SIGNORE Kenneth
Em-ploVee Emai]               kenneth. del _sigmore@nokia. com
EmFlo9ee Reach Phone          6303462993
Embloyee Reach Addrees 1.
Embloyee Reach Address 2.
EmbloVee Reach CiEv: . .. . .
Emblo9ee Reach State
Embloyee Reach Zip. .
                                  59049698
SuperUrsor UPf                    PAo015108
Supervisor Name                   SNYDER Dave
                                  dave . snyder@nokia   .   com
Supervisor Phone                  +1-6302242972
Supervisor Nokia ID. .. ...       6 9049755
De-siqnee UPI. .                  PAo 015 L0   I
Desi6nee Name                     SNYDER Dave
Desiinee Email                    dave . snyder@nokia   .   com
Desi6nee Nokia ID.. .....     .   59049755
Disabilit.y UpdaLes. ..-...       Both




                                                                               NOKTA_o00090
          Case: 1:20-cv-04019 Document #: 1-4 Filed: 07/09/20 Page 31 of 35 PageID #:186


                                 Murray Xij.l Medical Depart.rnenl
                                           PATIENT   STIMMARY

                                               82/27   /z}re
NAlll: Del Signore,      KenneEh n           SSN:XXX-XX-XXXX
 AGB: 53                             JOB   TITLE: R&D Lab Specialist             4




TIVIMUNIZATIONS

DATE GIVEN        ?vpE                                     DOSE              COMMENTS
r0l31 /zoot        fnf luenza                              0.5               No
ri / a2 /zooa      lnfluenza                               0.5               NO
Lr/aL/2AA5         Influenza                               .5ml              Yes

DISABILIT]IS
FIRST DAY         PROBLEM                                                  RTW                TDO    COMMENTS
05/07 l2Ot8       AIiIXIETY S?ATE, T]NSPECIFIE                             LtlL2/20LA         189    Yee
LL / 03 /2oO3     OTI{ER T'NX}iOWN AI\ID IJNSPECI                          LT/A7 /2AA3           4   Yes

PA?IENT VISTT      REPORT

NAME:     De] Si.gnore, Kennelh W                              SSN: XXX-XX-XXXX
vIsIT     DATE: A2/25/2079       VISIT       CATECIORY:    Correspondence Review
NOTES:
USER-Chriscy      Gliori DA?E-02/23/79      TIME-15    :27:38    T


                                       Redacted
:   c99

NAME: De1       Signore, Kenneth W                                   SSN: *99780030
vIsl?     DATE:   O"?/LA/2O18     VrSIT      CATEGORY:     AdrninisLrataon           NoEe
NOTES:
usER-christy Gliori )ATE-07 ILA/18 TIME-10 ;45 :09               CDT
USER-Christy Gliori DATE-07 ILA/78 TIME-10:40r{3 CDT
TC [o Ken o:r 530-346-2993 and leave W wit,h contact info on
generic system and advised him of payroll iesue that he mighl
be affected. Advised if he is, he will see an overpayment this
check which tuill be Eaken back on 7/311L8 pay.
Alsc asked that he p1e call wrt,h a aEaEus updace on his
progress in recovery Eoward release. Advlsed him again of whar
is needed for a release to rtw or w/o reecriceien.
FU it no response.              ',


Nokia PROPrIETARY - Uee PursuanL Lo Company fnstruct-ions




                                                                                            NOKIA_000091
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:   cgg

NAME: Del Signore, KenneEh       W                         SSN:499780030
VISIT DATE: 05/22/2aLa               VISIT   CATEGORY: Correspondence Review
NOTES:
usER-christry Gliori DATE-05/22/18 TIME-09 : 19 :47 CDT
Rcd from pE:
Hi Christy,
  I have an initial consultation scheduled for next Thursday,
May 24th.      I found the practice through a docLor's office
]isted on Ehe IIR benefius web site. His nurse re-directed me
to an associated facilicy thau is set up with nurse
pract.i"t.ioners and physiatrists. The only contact info I goE
was: Carra Mu11igan, :.,560 WalI sE. suite 304 Naperville 11
50563

Sent response to remind him thal he will need his Li.me our
supporLed and t.hat. I was noE aware he was out of r'tirk thie
whole Eime. Advised he fo11ow original email instruc$ion for
mgmt to enter his absence ASAP due to pay and other issuds
Ehis will cause being late report.ed.

:   cgg

      DeI Sigmore, Kenneth W
NAIvIE:                                                    SSN: 49978003 0
VISIT DATE: A5/!7/2OL8      VISIT            CATEGORY: Correspondence Review
NOTES:
usER-christsy Gliori DATE- 05/L7 /78 TIME-09 :07 :34 CDT
Rcd a long ernail from ee with chronol-ogry and strategY on his
business issues. He asks Lo then EJo over this and speak to me.
Sent response to him thaE this is outside my scope and what I
can talk with him about in relation Eo his health.
3\1so ad.vised him Eo FU with mgmt and possibly Ethics PoinL as
needed.

:   cgg

NAME: Del Signore, Kenneth W                               SSN: 499780030
VISIT DATE: A5/OA/2A3.8      VISIT           CATEGORY: Correspondence Review
NOTES:
usER-chrisEy Gliori DATE- 05/A8/Le TIIVIE-14:00:58 CDT
Rcd from ee:
Hi Chriscy,
  I need to go on STB. I was given your email by HR wich
regard to Lhis.    I am at 530 346 2993"
Thanks
Ken


Nokia     PROPRIETARY   - Use Pursuant Eo Company Instructions




                                                                              NOKrA_000092
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TC Lo him and leave VM with conEacc            info and pls call   as
needed or email again.
usER-Christy Gliori DATE- 05 /L5/l-8 TrME-09 :33 :27 CoT
Following is from conversaLion with pt prior but I did not
have hio last. name:
usER-Chrisry Gliori DATE-05/09/L8 TrME-11: 08 :02 CDT
TC from pt on 530-346-2993 and discussed absence. He reports
t.haE he is out d/E 'rrlrork related stressrr. Pt states he was
doing his regular job but to advance, he started working on a
specific project t.hat his team agreed upon. He calls this an
'tinvenLion'r where they work on proposals outside of his own
job. He staEes Lhat he worked on his own t.ime on this
extensively and "heavily". The proposal was submiEEed to Ehe
AI conference in Finland and out of thousands of entries, his
was one of only 7 chosen.
A11 wanted him Eo pursue tshis and he advaneed in this more and
more unt.iI, for no given reason, "the project was yankedr'. He
has no idea why. He reports that he is unsure if chis wa6 a
"block of advancement, or retaliation". He also mentions that
if may be a "constructive reductionr'. He had not been looking
for a differenE job since this rnay have Eurned int.o a
rotational position and now that it was pu1led, he feels
unable E.o retsurn since Ehere are a lot of uncomforEable people
to be around. He described the invention Eo me and seemed
prouo of this. Pt then staLes that he has symptoms of
depression and feIE he's "goEta bail out".
Asked if he has seen a doctor and he states no. He asked about
whaE to do for WC ect. We discussed WC and S?D. Discussed
paperwork and Lhat Eo be out, he will need to be under Ehe
care of psychiaLrist and therapist but he may sEart with his
pcp if he will see him under possible WC. Also discussed IL WC
and i-nvestigation. Discussed difference between just STD case
and WC.
He agrees Lo get an appt ASAP and will call me with this                -

Discussed paperwork also and if no more info, I will FU with
him next wk for an update. Pt agrees.
wilt discuss this case with JAS and possible HR C as needed
also-
I did discuss case with JAS.
Rcd following from pL today:
Hi Christy,
  f'm looking aE physiatrists Lhat take my health insurance'
There are not many near me, but I do see people listed as
psychiatric nurse pracEitioners.    Do you know if the
practiLioners are acceptable for the appointmenL l,re discussed?
Thanks
Ken


Nokia    PROPRIETARY   - Use   PursuanE   to   Company   Instructions




                                                                             NOKTA_000093
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Advised him yes, this is fine.
FU as needed-

:   cgg

NAIvIE:   Del Signore, Kenneth                                   SSN:499780030
VISIT DATE: lA/31/2007                 VISIT    CATEGORY:    Inf luenza fmmunizat i-on
NOTES:



:   System

NAIvIE : Del Signore, Kenneth W               SSN: 49978003 0
vISIT DATE: 1-1,/02/ZO0A VISIT CATEGORY: Influenza Immunizarion
NOTES:



:   System

NAME: Del Signore, KenneEh W                                     SSN: 499?80030
VISIT DATE: 08/051L999      VISIT               CATEGORY:    Preplacement Questionaire
NOTES:
USER-Marilyn M. Mason DATE-08/06/99 TIME-L5-.24:A8
S: To work as MTS
O: Health quesLionnaire revj-ewed. Abnormals were: Color
blind - red-green deficiency. Hx of "heart palpitations"
had cardi-ac work up per candidate ??PVC's - no rx. States
occurs on occasion. llx of damaged cartilege in R knee w
arthroscopy in L985. StaLes sti1l gets "fJuid at Limes around
knee". Uses Ibuprofen prn about +x/yr for problems. ltx of R
shoulder roLator cuff injury. Environmental allergies and
uses OTC antihistamine prn. F1u sx about 1 mo ago rx w OTC
meds.
Denies any oEher medj-ca1 hx. No evidence of neck, wrj.sE,
hand or oLher current medical probleme. ROM good w/o pain.
Ergonomic and exerci-se review and demonstraLion done.
Drug Screen done.
A: Color b1ind.
P: Able to work w/o WR pending results of drug screen.
USER-Tana K. Hamb)-y DATE-oB/Lo/99 AIME-13:43:19
addendum: drug screen neg
informat.ion fx'd to ec



Nokia     trROPRIETAI?.Y   - Use Pursuant. to   Company     Instructions




                                                                                   NOKTA_000094
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DIAGNOSIS   :   COLOR   VISION DEFICIBNCIES 358.5

: tkh




NoKia   PROPRTETARY     -   Use   Pursuant Eo Company Instructions




                                                                           NOKTA_000095
